  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 1 of 81 PageID #: 1




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI


JENNIFER KRULL,                           )
                                          )
                  Plaintiff,              )
                                          )     COMPLAINT
      v.                                  )
                                          )
META PLATFORMS, INC., FACEBOOK            )     Docket No. 4:22-1262
HOLDINGS, LLC, FACEBOOK                   )
OPERATIONS, LLC, FACEBOOK                 )     JURY TRIAL DEMANDED
PAYMENTS, INC., FACEBOOK                  )
TECHNOLOGIES, LLC, INSTAGRAM, LLC,        )
SICULUS, INC., & SNAP, INC.,              )
                                          )
                  Defendants.             )
__________________________________________)
       Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 2 of 81 PageID #: 2



                                                                 TABLE OF CONTENTS



I.        INTRODUCTION ................................................................................................................................... 1

II.       JURISDICTION AND VENUE ............................................................................................................. 4

III.      PARTIES................................................................................................................................................. 5

          Plaintiff .................................................................................................................................................... 5

          Defendant Meta Platforms, Inc. .............................................................................................................. 5

          Subsidiary Meta Defendants ................................................................................................................... 6

          Defendant Snap, Inc. ............................................................................................................................. 19

IV.       GENERAL FACTUAL ALLEGATIONS ............................................................................................ 24

          A.         Teenagers Are Particularly Vulnerable to the Perils of Excessive Social Media Use .............. 24

          C.         Defendants Knowingly Exploit Teenage Vulnerabilities for Unjust Gain ................................ 34

          D.         Defendants’ Business Models Encourage Problematic Use to Maximize Screen Time, Thereby
                     Increasing Revenue ................................................................................................................... 34

          E. Plaintiff Expressly Disclaims Any and All Claims Seeking to Hold Defendants Liable as the
                  Publisher or Speaker of Any Content Provided, Posted, or Created by Third Parties .............. 36

V.        PLAINTIFF-SPECIFIC ALLEGATIONS ............................................................................................ 37

CAUSES OF ACTION .................................................................................................................................... 46

VI.       DEMAND FOR A JURY TRIAL ......................................................................................................... 78

VII.      PRAYER FOR RELIEF ........................................................................................................................ 78
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 3 of 81 PageID #: 3




I.      INTRODUCTION

        1.     This matter arises from an egregious breach of the public trust by Defendants Meta

Platforms, Inc. (hereinafter, “Meta Platforms”), Facebook Holdings, LLC (hereinafter, “Facebook

1”), Facebook Operations, LLC (hereinafter, “Facebook 2”), Facebook Payments, Inc.

(hereinafter, “Facebook 3”), Facebook Technologies, LLC (hereinafter, “Facebook 4”), Instagram,
LLC (hereinafter, “Instagram”), Siculus, Inc. (hereinafter, “Siculus” and, collectively—including

Facebook 1, Facebook 2, Facebook 3, Facebook 4, Instagram, and Siculus—“Meta”), together

with Snap Inc. (hereinafter, “Snap”).

        2.     Over the last two decades, more and more of our lives have moved onto social

media platforms and other digital public spaces. In this vast, largely unregulated universe of digital

public spaces, which are privately owned and primarily run for profit, there exists tension between

what is best for technology companies’ profit margins and what is best for the individual user

(especially the predictable adolescent user) and for society. Business models are often built around

maximizing user engagement, without regard to whether users engage with the platform and one

another in safe and healthy ways. Technology companies, including Defendants, focus on

maximizing time spent, not time well spent. In recent years, there has been growing concern about

the impact of digital technologies, particularly social media, on the mental health and wellbeing of

adolescents. Many researchers argue that Defendants’ social media products facilitate

cyberbullying, contribute to obesity and eating disorders, instigate sleep deprivation to achieve

around-the-clock platform engagement, and encourage children to compare themselves negatively

to others and develop a broad discontentment for life. These platforms also have been connected to

depression, anxiety, self-harm, and ultimately suicidal ideation, suicide attempts, and completed

suicide.

        3.     Defendants have intentionally designed their products to maximize users’ screen



                                                  1
   Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 4 of 81 PageID #: 4




time, using complex algorithms designed to exploit human psychology and driven by advanced

computer algorithms and artificial intelligence available to two of the largest technology

companies in the world. Defendants have progressively modified their products to promote

problematic and excessive use that they know threatens the actuation of addictive and self-

destructive behavioral patterns.

         4.    Excessive screen time is harmful to adolescents’ mental health, sleep patterns,

emotional well-being. Defendants’ products lack any warnings that foreseeable product use can

disrupt healthy sleep patterns, or specific warnings to parents when their child’s product usage

exceeds healthy levels or occurs during sleep hours, rendering the platforms unreasonably

dangerous. Reasonable and responsible parents are not able to accurately monitor their child’s

screen time because most adolescents own or can obtain access to mobile devices and engage in

social media use outside their parents’ presence.

         5.    Defendants do not charge their users to use their platforms, but instead receive

money from advertisers who pay a premium to target advertisements to specific categories of

people as studied and sorted by Defendants’ algorithms. Thus, Defendants generate revenue based

upon the total time spent on the application, which directly correlates with the number of

advertisements that can be shown to each user.

         6.    Rather than making meaningful changes to safeguard the health and safety of its

users, Defendants have consistently chosen to prioritize profit over safety by continuing to

implement and require its users to submit to product components that increase the frequency and

duration of users’ engagement, resulting in numerous harms, which are described in greater detail

below.

         7.    Plaintiff brings claims of strict liability based on Defendants’ defective design of




                                                 2
   Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 5 of 81 PageID #: 5




their social media products that renders such products not reasonably safe for ordinary consumers

in general and minors in particular. It is technologically feasible to design social media products

that substantially decrease the incidence and magnitude of harm to ordinary consumers, including

minors, arising from their foreseeable use of Defendants’ products with a negligible increase in

production cost. It is also technologically feasible to design and implement effective age

and identity verification protocols to ensure that only children of an appropriate age may have

access to these products.

       8.      Plaintiff also brings claims for strict liability based on Defendants’ failure to

provide adequate warnings to minor users and their parents about the danger of mental, physical,

and emotional harms arising from the foreseeable use of their social media products.

       9.      Plaintiff also brings claims for common law negligence arising from Defendants’

unreasonably dangerous social media products and their failure to warn of such dangers.

Defendants knew or, in the exercise of ordinary care, should have known that their social media

products were harmful to a significant percentage of their minor users and failed to re-design their

products to ameliorate these harms or warn minor users and their parents of dangers arising out of

the foreseeable use of their products. Defendants intentionally created an attractive nuisance to

children and simultaneously failed to provide adequate safeguards from the harmful effects that

they knew were occurring.

       10.     As is now generally known, in Fall 2021, Frances Haugen, a former Facebook

employee turned whistleblower, came forward with internal documents showing that Meta was

aware that its platforms and products cause significant harm to its users, especially children. Snap’s

social media platform has similar designs and mechanisms of action resulting in similarly addictive

qualities and harmful outcomes to minor users. To this day, the addictive qualities of all




                                                  3
      Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 6 of 81 PageID #: 6




Defendants’ products and their harmful algorithms are not fully known or understood by minor

users or their parents.

II.      JURISDICTION AND VENUE

         11.    This Court has subject-matter jurisdiction over this case under 28 U.S.C. § 1332(a)

because the amount in controversy exceeds $75,000 and Plaintiff and Defendants are citizens of

different states. This Court has specific personal jurisdiction over Defendants because these

Defendants transact business in the State of Missouri and purposely avail themselves of the benefits

of transacting business with Missouri residents. Plaintiff’s claims set forth herein arise out of and/or

relate to Defendants’ activities in the State of Missouri and purposeful availment of the benefits of

transacting business here, and the exercise of personal jurisdiction by this Court comports with

traditional notions of fair play and substantial justice.

         12.    Defendants interface with a significant percentage of the population of the State of

Missouri relating to use of the products at issue in this case. Defendants also interact extensively

with—i.e., they send messages, notifications, and communications to—users Defendants expect

and know to be in the State of Missouri. Defendants also provide a myriad of other interactive

services and recommendations to users Defendants expect and know to be in the State of Missouri.

         13.    Defendants advertise extensively in Missouri, through contractual relationships

with third-party “partners” who advertise on their behalf via electronic and internet-based platforms

and devices. Defendants also have agreements with cell phone manufacturers, and/or providers

and retailers, who often pre-install its products on mobile devices prior to sale, without regard to

the age of the intended user of each such device. That is, even though Defendants are prohibited

from providing their products to users under the age of 13, by encouraging and allowing their

products to be installed indiscriminately on mobile devices, Defendants actively promote and



                                                   4
   Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 7 of 81 PageID #: 7




provide access to their products to the underage users in Missouri for whom those devices are

intended.

        14.    Defendants have earned millions of dollars in annual revenue from their Missouri-

related activities over the last several years arising from the use of their defective and inherently

dangerous social media products by Missouri residents, including Plaintiff.

        15.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to Plaintiff’s claims occurred in the Eastern District of

Missouri.

III.    PARTIES

        Plaintiff

        16.    Plaintiff Jennifer Krull is an adult individual domiciled in Saint Louis, Missouri.

Saint Louis, Missouri, is Plaintiff’s true, fixed, and permanent home and principal establishment,

to which Plaintiff has the intention of returning whenever she is absent therefrom. Plaintiff intends

to remain in Saint Louis, Missouri, indefinitely.

        17.    Decedent, Carson Decus, was born on August 5, 2007, in Saint Louis, Missouri and

was at all times a resident and citizen of Missouri.

        18.    Plaintiff, Jennifer Krull, is the mother of the deceased Carson Decus, and therefore

is an heir at law and entitled to being this action for wrongful death under MO. Stat. Ann. 537.080

1(1).

        Defendant Meta Platforms, Inc.

        19.    Meta Platforms is a multinational technology conglomerate, having its principal

place of business in Menlo Park, California. Meta develops and maintains social media platforms,




                                                    5
    Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 8 of 81 PageID #: 8




communication platforms, and electronic devices. 1 Meta Platforms was originally incorporated in

Delaware on July 29, 2004, as “The Facebook, Inc.” On September 20, 2005, the company changed

its name to “Facebook, Inc.” On October 28, 2021, the company assumed its current designation.

While Plaintiff has attempted to identify the specific Meta Platforms subsidiary(s) that committed

each of the acts alleged in this Complaint, Plaintiff was not always able to do so, in large part due

to ambiguities in Meta Platforms’ and its subsidiaries’ own documents, public representations, and

lack of public information. However, upon information and belief, Meta Platforms oversees the

operations of its various platforms and subsidiaries, some of which have been identified and are

listed below. For this reason, unless otherwise specified, the shorthand “Meta” contemplates the

apparent control that Meta Platforms wields over its subsidiaries’ overall operations and, therefore,

further refers to its various subsidiaries and predecessors. To the extent this assumption is

incorrect, the knowledge of which Meta Platforms subsidiary, current or former, is responsible for

specific conduct is knowledge solely within Meta’s possession, the details of which Plaintiff

should be permitted to elucidate during the discovery phase.

         20.      Meta Platforms’ subsidiaries include but may not be limited to: Facebook 1

(Delaware); Facebook 2 (Delaware); Facebook 3 (Delaware); Facebook 4 (Delaware); FCL Tech

Limited (Ireland); Instagram (Delaware); Novi Financial, Inc. (Delaware); Runways Information

Services Limited (Ireland); Scout Development LLC (Delaware); Siculus (Delaware); and a dozen

other entities whose identity or relevance is presently unclear.

         Subsidiary Meta Defendants

         21.      Facebook 1 was incorporated in Delaware on March 11, 2020 and is a wholly


1
 These platforms and products include Facebook (its self-titled app, Messenger, Messenger Kids, Marketplace,
Workplace, etc.), Instagram (and its self-titled app), and a line of electronic virtual reality devices called Oculus
Quest (soon to be renamed “Meta Quest”).



                                                            6
   Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 9 of 81 PageID #: 9




owned subsidiary of Meta Platforms. Facebook 1 is primarily a holding company for entities

involved in Meta Platforms’ supporting and international endeavors, and its principal place of

business is in Menlo Park, California. Meta Platforms is the sole member of this LLC Defendant.

       22.     Facebook 2 was incorporated in Delaware on January 8, 2012 and is a wholly

owned subsidiary of Meta Platforms. Facebook 2 is likely a managing entity for Meta Platforms’

other subsidiaries, and its principal place of business is in Menlo Park, California. Meta Platforms

is the sole member of this LLC Defendant.

       23.     Facebook 3 was incorporated in Florida on December 10, 2010 and is a wholly

owned subsidiary of Meta Platforms. Facebook 3 manages, secures, and processes payments made

through Meta Platforms, among other activities, and its principal place of business is in Menlo

Park, California.

       24.     Facebook 4 was incorporated in Delaware as “Oculus VR, LLC” on March 21,

2014, and acquired by Meta Platforms on March 25, 2014. Facebook 4’s principal place of business

is in Menlo Park, California, and it develops Meta Platforms’ virtual and augmented reality

technology, such as the Oculus Quest line of products (soon to be renamed “Meta Quest”), among

other technologies related to Meta Platforms’ various platforms. Meta Platforms is the sole

member of this LLC Defendant.

       25.     Instagram was founded by Kevin Systrom and Mike Krieger in October 2010. In

April 2012, Meta Platforms purchased the company for $1 billion (later statements from Meta

Platforms have indicated the purchase price was closer to $2 billion). Meta Platforms

reincorporated the company on April 7, 2012, in Delaware. Currently, the company’s principal

place of business is in in Menlo Park, CA. Instagram is a social media platform tailored for photo

and video sharing. Meta Platforms is the sole member of this LLC Defendant.



                                                 7
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 10 of 81 PageID #: 10




       26.     Siculus was incorporated in Delaware on October 19, 2011 and is a wholly owned

subsidiary of Meta Platforms. Siculus supports Meta by constructing data facilities and other

projects. Siculus’s principal place of business is in Menlo Park, CA.

       27.     By admission, Facebook and Instagram are products. (Meta’s Vice President of

Messaging Products Loredana Crisan, Celebrating 10 Years of Messenger With New Features

(August      25,   2021,     last   visited    July    29,     2022,    at    1:10    PM      CST)

https://about.fb.com/news/2021/08/messenger-10th-birthday/).

       28.     The safety of Facebook and Instagram was not duly addressed prior to public

distribution. (Our Progress Addressing Challenges and Innovating Responsibly (September 21,

2021, last visited July 29, 2022, at 1:17 PM CST) https://about.fb.com/news/2021/09/our-

progress-addressing-challenges-and-innovating-responsibly/).

       29.     Meta knowingly exploited its most vulnerable users—children throughout the

world—to drive corporate profit. Meta operates the world’s largest family of social networks,

enabling billions of users worldwide to connect, view, and share content through mobile devices,

personal computers, and virtual reality headsets. A user does not have to pay to create an account.

Instead of charging account holders to access the platform, Meta became one of the world’s most

valuable companies from the sale of advertisement placements to marketers across its various

platforms and applications. For example, upon information and belief, Meta generated $69.7

billion from advertising in 2019, more than 98% of its total revenue for the year. Meta can generate

such revenues by marketing its user base to advertisers. Meta collects and analyzes data to

assemble virtual dossiers on its users, covering hundreds if not thousands of user-specific data

segments. This data collection and analysis allows advertisers to micro-target advertising and

advertising dollars to very specific categories of users, who can be segregated into pools or lists



                                                 8
    Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 11 of 81 PageID #: 11




using Meta’s data segments. Only a fraction of these data segments come from content that is

explicitly designated by users for publication or explicitly provided by users in their account

profiles. Many of these data segments are collected by Meta through surveillance of each user’s

activity on the platform and off the platform, including behavioral surveillance that users are not

even aware of, such as navigation paths, watch time, and hover time. The larger Meta’s user

database grows, the more time the users spend on the database. As this usage time increases, Meta

is able to extract more detailed information from its users, which then allows Meta to make more

money from advertisers.

        30.      As of October 2021, Facebook had roughly 2.91 billion monthly active users, thus

reaching 59% of the world’s social networking population, the only social media platform to reach

over half of all social media users. Instagram has become the most popular photo sharing social

media platform amongst teenagers and young adults in the United States, with over 57 million

users below the age of eighteen, meaning that 72 percent of America’s youth use Instagram. 11

percent of parents in the U.S. know their child between the ages of 9 and 11 uses Instagram. 2

Likewise, 6 percent of parents in the U.S. know their child between the ages of 9 and 11 uses

Facebook. 3

        31.      Two Meta products, www.Facebook.com (“Facebook”) and www.Instagram.com

(“Instagram”), along with their interrelated apps (collectively “Meta 2”), rank among the most

popular social networking products, with more than two billion combined users worldwide. An

estimated nine out of ten teens use social media platforms, with the average teen using the

platforms roughly three hours per day. Given the delicate, developing nature of the teenage brain



2
  Katherine Schaeffer, 7 facts about Americans and Instagram, Pew Research Center (Oct. 7, 2021),
https://www.pewresearch.org/fact-tank/2021/10/07/7-facts-about-americans-and-instagram/.
3
  Id.


                                                       9
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 12 of 81 PageID #: 12




and Meta’s creation of social media platforms designed to be addictive, it is not surprising that

society is now grappling with the ramifications of Meta’s growth-at-any-cost approach. A

generation of children is being physiologically entrapped by products that cause long-lasting

adverse impacts on their rapidly evolving and notoriously precarious mental health.

       32.     Meta, as originally conceived, functioned as an enormous virtual bulletin board,

where authors published content. But Meta has evolved over time with the addition of numerous

features and products designed by Meta to engage users. The earliest of these—the search function

and the “like” button—were primarily user-controlled features. In more recent years, however,

Meta has taken a more active role in shaping the user experience on the platform with more

complex features and products. The most visible of these are curated recommendations, which are

pushed to each user in a steady stream as the user navigates the website, and in notifications sent

to the user’s smartphone and e-mail addresses when the user is disengaged with the platform. These

proprietary Meta products include News Feed (a newsfeed of stories and posts published on the

platform, some of which are posted by your connections, and others that are suggested for you by

Meta), People You May Know (introductions to persons with common connections or

background), Suggested for You, Groups You Should Join, and Discover (recommendations for

Meta groups to join). These curated and bundled recommendations are developed through

sophisticated algorithms. As distinguished from the earliest search functions that were used to

navigate websites during the Internet’s infancy, Meta’s algorithms are not based exclusively on

user requests or even user inputs. Meta’s algorithms combine the user’s profile (e.g., the

information posted by the user on the platform) and the user’s dossier (the data collected and

synthesized by Meta to which Meta assigns categorical designations), make assumptions about that

user’s interests and preferences, make predictions about what else might appeal to the user, and




                                                10
    Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 13 of 81 PageID #: 13




then make very specific recommendations of posts and pages to view and groups to visit and join

,based on rankings that will optimize Meta’s key performance indicators.

         33.      A user’s “feed” on both Facebook and Instagram comparises an endless series of

photos, videos, text captions, and comments posted by accounts that the user follows, along with

advertising and content specifically selected and promoted by Instagram and Facebook.

         34.      Instagram also features a “discover” page, where a user is shown an endless feed of

content that is selected by an algorithm designed by Instagram based upon the users’ data profile:

demographics, prior activity in the platform, and other data points. Meta has added similar features

to Facebook on the apps “menu” and “watch” sections.

         35. Engineered to meet the evolving demands of the “attention economy” 4—a term used to

describe the supply and demand of a person’s attention, which is a highly valuable commodity for

internet websites—Meta, in February 2009, introduced intermittent variable rewards (“IVR”).

IVRs represent perhaps Meta’s most conspicuous effort to addict users—its “Like” button.

Instagram launched that same year and came ready-made with a “Like” function shaped as a heart.

Additional features of Meta’s IVR include its delay-burst notification system, comments, posts,

shares, and other dopamine-triggering content. Instagram’s notification algorithm delays

notifications to deliver them in spaced-out, larger bursts. Facebook likely uses a similar feature.

These designs take advantage of users’ dopamine-driven desire for social validation and optimizes

the balance of negative and positive feedback signals to addict users.

         36.      IVR is a method used to addict a user to an activity by spacing out dopamine

triggering stimuli with dopamine gaps—a method that allows for anticipation and craving to



4
 The business model is simple: The more attention a platform can pull from its users, the more effective its
advertising space becomes, allowing it to charge advertisers more.



                                                         11
    Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 14 of 81 PageID #: 14




develop and strengthen the addiction with each payout. The easiest way to understand this term is

by imagining a slot machine. You pull the lever (intermittent action) with the hope of winning a

prize (variable reward). In the same way, you refresh Defendants’ feeds, endure the brief delay,

and then learn if anyone has tagged you in a photo, mentioned you in a post, sent you a message,

or liked, commented on, or shared either of your posts. As explained below, Meta (and, upon

information and belief, all Defendants) space out notifications into multiple bursts (dopamine

gaps), rather than notifying users in real time, to maximize the platforms’ addictiveness.

        37.     Over the past decade or so, Meta has added features and promoted the use of auto-

playing short videos and temporary posts on Facebook and Instagram, with the former being

referred to as “Reels,” while the latter is referred to as Instagram “Stories.”

        38.     Facebook and Instagram notify users through text and email of activity that might

be of interest, which is designed to and does prompt users to open Facebook and Instagram and be

exposed to content selected by the platforms to maximize the length of time and amount of content

viewed by the user. Facebook and Instagram include many other harm causing features, as

discussed below.

        39.     Equipped with ample information about the risks of social media, the

ineffectiveness of its age-verification protocols, and the mental processes of teens, Meta has

expended significant effort to attract preteens to its products, including substantial investments in

designing products that would appeal to children ages 10-to-12. Meta views pre-teens as a

valuable, unharnessed commodity, so valuable that it has contemplated whether there is a way to

engage children during play dates. 5 Meta’s unabashed willingness to target children—in the face



5
 Georgia Wells and Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram Kids, Documents
Show (2021), https://www.wsj.com/articles/facebook-instagram-kids-tweens-attract-11632849667.



                                                     12
    Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 15 of 81 PageID #: 15




of its conscious, long-standing, plainly deficient age-verification protocols—demonstrates the

depths to which Meta is willing to reach to maintain and increase its profit margin.

        40.    Faced with the potential for reduction in value due to its declining number of users,

in or around early 2018, Meta (and likely Meta 2) revamped its interface to transition away from

chronological ranking. Instead of organizing the interface according to when content was posted

or sent, Meta (and likely Meta 2) prioritized Meaningful Social Interactions, or “MSI,” which

emphasizes users’ connections’ interactions—e.g., likes and comments—giving greater

significance to the interactions of connections that appeared to be the closest to users. To effectuate

this objective, Facebook developed and employed an “amplification algorithm” to execute

engagement-based ranking, which considers a post’s likes, shares, and comments, as well as a

respective user’s past interactions with similar content, and exhibits the post in the user’s newsfeed

if it otherwise meets certain benchmarks. The algorithm covertly operates on the proposition that

intense reactions invariably compel attention. Negative content routinely elicits passionate

reactions. Because the algorithm measures reactions and drives users to the most reactive content,

the algorithm regularly steers users toward the most negative content.

        41.    Meta CEO Zuckerberg publicly recognized this in a 2018 post, in which he

demonstrated the correlation between engagement and sensational content that is so extreme that

it impinges upon Meta’s own ethical limits, with the following chart: 6




6
 Mark Zuckerberg, A Blueprint for Content Governance and Enforcement, FACEBOOK,
https://www.facebook.com/notes/751449002072082/ (last visited January 8, 2022).


                                                  13
    Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 16 of 81 PageID #: 16




          42.     The algorithm controls what appears in each user’s News Feed and promotes

content that is objectionable and harmful to many users. In one internal report, Meta concluded

that “[o]ur approach has had unhealthy side effects on important slices of public content, such as

politics and news,” with one data scientist noting that “[t]his is an increasing liability.” In other

internal memos, Meta concluded that because of the new algorithm, “[m]isinformation, toxicity,

and violent content are inordinately prevalent.” Other documents show that Meta employees also

discussed Meta’s motive for changing its algorithm—namely, that users began to interact less with

the platform, which became a worrisome trend for Meta’s bottom line. Meta found that the

inflammatory content that the new algorithm was feeding to users fueled their return to the

platform and led to more engagement, which, in turn, helped Meta to sell more of the digital ads

that generate most of its revenue. All told, Meta’s algorithm optimizes for angry, divisive, and

polarizing content because such content increases its number of users and the time users stay on the

platform per viewing session, which thereby increases its appeal to advertisers. This, in turn,

increases Meta’s overall value and profitability.

          43.     Upon information in belief, at least as far back as 2019, Meta initiated, inter alia, a

Proactive Incident Response experiment, which began researching the effect of Meta on the mental

health of today’s youth. 7 Meta’s own in-depth analyses show significant mental health issues


7
    See Protecting Kids Online: Testimony from a Facebook Whistleblower, United States Senate Committee on


                                                    14
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 17 of 81 PageID #: 17




stemming from the use of Instagram among teenage girls, many of whom linked suicidal thoughts

and eating disorders to their experiences on the app. 8 Meta’s researchers have repeatedly found

that Instagram is harmful for a sizable percentage of teens that use the platform. In an internal

presentation from 2019, Meta researchers concluded that “[w]e make body issues worse for one in

three teen girls,” and “[t]eens blame Instagram for increases in the rate of anxiety and depression.”

Similarly, in a March 2020 presentation posted to Meta’s internal message board, researchers

found that “[t]hirty-two percent of teen girls said that when they feel bad about their bodies,

Instagram made them feel worse.” Sixty-six percent of teen girls and forty-six percent of teen boys

have experienced negative social comparisons on Instagram. Thirteen-and-one-half percent of

teen-girl Instagram users say the platform makes thoughts of “suicide and self-injury” worse.

Seventeen percent of teen-girl Instagram users say the platform makes “[e]ating issues” worse.

Instagram users are twice as likely to develop an eating disorder as those who don’t use social

media.

         44.     Meta is aware that teens often lack the ability to self-regulate. Meta is further aware

that, despite the platforms’ adverse impact to teenage users’ well-being, the absence of impulse

control often renders teens powerless to oppose the platforms’ allure. Meta is conscious of the fact

that the platform dramatically exacerbates bullying and other difficulties prevalent within the high

school experience. The platform’s reach now affects users within the confines of the home. The

advent of social media largely occurred after today’s parents became adults, the consequence being

that a large swath of parents that lack the context needed to appreciate the contemporary perils of

Meta and Instagram. Parents, therefore, are ill-equipped to offer advice sufficient to effectively



Commerce, Science, & Transportation, Sub-Committee on Consumer Protection, Product Safety, and Data Security,
https://www.c-span.org/video/?515042-1/whistleblower-frances-haugen-calls-congress-regulate-facebook.
8
  See Wall Street Journal Staff, The Facebook Files, WSJ (2021), https://www.wsj.com/articles/the-facebook-files-
11631713039?mod=bigtop-breadcrumb.


                                                       15
    Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 18 of 81 PageID #: 18




mitigate against the dangers presented by these social media platforms.

           45.      The shift from chronological ranking to the algorithm modified the social

networking environment in such a way that it created a new iteration of the Meta experience, one

that is profoundly more negative, one that exploits some of the known psychological

vulnerabilities of Facebook’s most susceptible users—i.e., juveniles. This results in a markedly

enlarged threat to juveniles’ mental health and the related frequency of suicidal ideation.

           46.      Meta professes to have implemented protective measures to counteract the well-

established dangers of its sites’ customized, doggedly harmful content; however, its protocols

apply only to content conveyed in English and removes only 3-to-5 percent of harmful content.

Meta knows its quality-control and age-verification protocols are woefully ineffective, but Meta

is either unwilling or incapable of properly managing its platforms. This is consistent with its

established pattern of recognizing, and subsequently ignoring, the needs of its underage users—

and its obligation to create a suitable environment accessible only by its age-appropriate users—

all in the interest of reaping obscene profit.

           47.      Instead of providing warnings at sign-up or during use, Meta provides no warning

at all. Rather, the most accessible and full information regarding the mental and physical health

risks of Meta’s platforms comes from third parties. Meta has a “Youth Portal” website that does

not appear to be widely promoted by Meta or even recommended to teen users on its platforms.9

Although the website claims to be comprehensive in its coverage of safety information for the

platforms, it fails to directly address any of the features or health risks listed above. The website

states, “Welcome to our Youth Portal. Consider this your guide to all things Facebook: general

tips, insider tricks, privacy and safety information, and everything else you need to have a great



9
    Safety Center, Facebook, https://www.facebook.com/safety/youth (last visited Sept. 20, 2022)


                                                          16
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 19 of 81 PageID #: 19




experience on Facebook. It's also a space for you to hear from people your age, in their own voices,

about the issues that matter to them online. Take a look around — these resources were made

specifically for you, your friends, and your real-life experiences online and off.” 10 The website

merely provides instructional guides regarding mental health in general—it does not identify,

warn, or take responsibility for the impact of the platform and its features on users’ mental health.

By contrast, it shifts blame to other factors, such as third parties posting “suicide challenges,” the

general societal issue of substance abuse, and the COVID-19 pandemic.

           48.   The only content on the website that has a semblance of a warning for the issues

listed above is a link to a “Family Digital Wellness Guide” created by the Boston Children’s

Hospital Digital Wellness Lab. Buried in this guide is a mention that screens should not be used

an hour before bed because “[u]sing screens before bedtime or naptime can excite kids and keep

them from falling asleep. The ‘blue light’ that comes from TVs and other screen devices can

disrupt your child’s natural sleep cycle, making it harder for them to fall asleep and wake up

naturally. [Late screen use can] result[ ] in your child getting less sleep and struggling to wake up

on time. On average, school-age children need 9-12 hrs of sleep each night.”

           49.   The “Family Digital Wellness Guide” only alludes to the platforms’ manipulation,

addictiveness, behavioral control, and data tracking of users: “Advertisers target children with lots

of commercials, everything from sneakers and toys to unhealthy foods and snacks high in fat,

sugar, and calories. Your children may also start becoming familiar with online influencers, who

are also often paid to advertise different products and services on social media. Helping your child

think critically about how advertising tries to change behaviors, helps your child understand the

purpose of ads, and empowers them to make informed decisions.” The guide also briefly discusses



10
     Id.


                                                 17
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 20 of 81 PageID #: 20




cyber bullying.

        50.     Finally, the guide mentions the body image harms social media inflicts, but it solely

blames influencers as the cause, rather than the platforms’ algorithms and features, and asserts that

the burden to remedy the issue is on parents, rather than social media companies. “Science says:

Tweens are often exposed to a lot of information online and through other media, both true and

false, about how bodies ‘should’ look and what they can do to ‘improve’ their appearance. Certain

body types are often idolized, when in reality bodies are incredibly diverse. There are many online

accounts, websites, and influencers that make youth feel inadequate by encouraging them to lose

weight or build up muscle, harming both their mental and physical health. Protip: Actively listen

and show that you care about how your child is feeling about puberty and how their body is

changing. Talk with them about images on social and other media as these often set unrealistic

ideals and help them understand that these images are often digitally altered or filtered so that

people look more ‘beautiful’ than they really are.” No similar warning is offered to young users in

Meta’s advertisements, at signup or anywhere on the platform. Instead, Meta unreasonably and

defectively leaves it to individuals’ research ability for a user to be informed about the key dangers

of its platforms.

        51.     This informational report is from a third party, not Meta. Meta merely links to this

information on a “Youth Portal” website in a location that is difficult and time-consuming to find.

The guide omits any mention of the strong role that Facebook’s and Instagram’s individual or

collective algorithm(s) and features play in each of these harms. Furthermore, it is uncertain how

long Meta has offered a link to this limited information.

        52.     On another Meta created website that proposes to “help young people become

empowered in a digital world,” its “Wellness” subpage lists five activities: “mindful breathing,”




                                                 18
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 21 of 81 PageID #: 21




“finding support,” “building resilience: finding silver linings,” “a moment for me,” and “taking a

break.” 11 Nowhere does the website mention the mental health risks posed by Facebook and

Instagram as a result of the product features listed above.

         Defendant Snap, Inc.

         53.     Snap is a Delaware corporation with its principal place of business in Santa Monica,

California. Snap owns and operates the Snapchat social media platform, an application that is

widely marketed by Snap and available to users throughout the United States. Snapchat is a

platform for engaging in text, picture, and video communication. The platform is also for editing

and dissemination of content. The app contains a discovery page and a TikTok-like short video

feed that algorithmically presents endless content to users. The platform’s primary objective is to

maximize the frequency and length of each user’s viewing sessions. 59 percent of teenagers in the

U.S. actively use Snapchat. 12 22 percent of parents in the U.S. know that their child between the

ages of 9 and 11 uses Snapchat. 13

         54.     Snapchat was founded in 2011 by three Stanford students: Reggie Brown, Evan

Spiegel, and Bobby Murphy. It began as a simple application designed to allow a user to send a

picture to a friend that would later disappear. Having gained only 127 users a few months after its

launch, Snapchat began to market to high school students. Within the following year, Snapchat

grew to more than 100,000 users.

         55.     Snapchat became well known for the ephemeral nature of its content, which, in

effect, removes all accountability for sent content. Specifically, Snapchat allows users to form

groups and share posts (or “Snaps”) that disappear after being viewed by the recipients. However,

11
   Wellness, Meta, https://www.facebook.com/fbgetdigital/youth/wellness (last visited Sept. 20, 2022).
12
   Vogels et al., supra note 13.
13
   Schaeffer, supra note 2



                                                        19
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 22 of 81 PageID #: 22




the Snapchat social media product quickly evolved from there, as its leadership made design

changes and rapidly developed new product features. These changes were intended to, and did,

increase Snapchat’s popularity among minors.

       56.     In 2012, Snapchat added video capabilities to its product, pushing the number of

Snaps to 50 million per day; in 2013, Snapchat added “Stories” and “Chat” features; in 2014, it

added live video chat capabilities, text conversations, “Our Story,” Geofilters, and Snapcash; in

2015, it added Discovery, QR code incorporation, and facial recognition software; in 2016, it

added Memories and Snapchat Groups.

       57.     Upon knowledge, information, and belief, formed after a reasonable inquiry under

the circumstances, by 2015, advertisements were pervasive on Snapchat, and by 2018, 99% of

Snapchat’s total revenue came from advertising. Like Meta and Defendants in general, Snapchat

decided to monetize its userbase. Snapchat changed its product in ways that made it more harmful

for users yet resulted in increased engagement and profits for Snapchat. By 2015, Snapchat had

over 75 million active users and was the most popular social media application amongst American

teenagers in terms of number of users and time spent using the product.

       58.     To further expand its userbase, Snapchat incorporates several product features that

serve no purpose other than to create dependency on Snapchat’s social media product. These

features, in turn, result in sleep deprivation, anxiety, depression, shame, interpersonal conflicts, and

other serious mental and physical harms. Snapchat knows, or should know, that its product is

harmful to adolescents, but, as with Defendants in general, it consistently opts for increased profit

at the expense of the well-being of its clientele. Defendants’ products are used by millions of

children every day. Numerous children have become addicted to these products because of their

design and product features, to the point that parents cannot remove all access to the products




                                                  20
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 23 of 81 PageID #: 23




without minor users adamantly protesting, often engaging in self-harm, threatening hunger strikes

and/or suicide, and other foreseeable consequences of withdrawal from these products, where such

cessation would require professional intervention.

         59.     In addition to the types of features discussed above, Snapchat’s defective, addictive,

harm-causing features include (1) Snapchat streaks, (2) limited availability content, (3) Trophies,

(4) Snapscore, (5) Snapmap (6) image filters, (7) Spotlight, (8) general user interface, and (9) many

other design features.

         60.     Snapchat streaks provide a reward to users based on how many consecutive days

they communicate with another user. In other words, the longer two users are able to maintain a

streak by exchanging a communication (a “Snap”) at least once a day, the more rewarded the users

are. The reward comes in the form of a cartoon emoji appearing next to the conversation within

Snapchat’s interface. The longer the streak is maintained, the more exciting the emoji. Eventually,

the emoji will change to a flame, and the number of days the streak has lasted will be positioned

next to the flame. If the streak is about to end, the emoji changes to an hourglass to add pressure

on users to maintain the streak and reengage with the platform. 14

         61.     This feature hijacks teens’ craving for social success and connectedness and causes

teen users to feel a pressure to use Snapchat daily or suffer social consequences. As some

academics and mental health treatment providers have described, streaks “provide a validation for

the relationship. ... Attention to your streaks each day is a way of saying ‘we’re OK.’ ... The makers

built into the app a system so you have to check constantly or risk missing out,” said Nancy Colier,

a psychotherapist and author of The Power of Off. “It taps into the primal fear of exclusion, of being



14
   Lizette Chapman, Inside the Mind of a Snapchat Streaker, Bloomberg (Jan. 30, 2017 at 5:00 AM CST),
https://www.bloomberg.com/news/features/2017-01-30/inside-the-mind-of-a-snapchat-
streaker?leadSource=uverify%20wall.


                                                      21
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 24 of 81 PageID #: 24




out of the tribe and not able to survive.” 15 For teens, streaks can become a metric for self-worth and

popularity. By design, the user’s mental wellbeing becomes connected to performance in

Snapchat’s product. 16 Some teenagers even provide their log-in information to others to maintain

their streaks for them when they know they will not be able to do so for a time.

         62.      Time limited content also creates a pressure to use the platform daily. Users can

post stories that will only be available for 24 hours. Many teens feel an obligation to view all their

contact’s stories each day before the content disappears.

         63.      Trophies are awarded to users based on actions performed in the app, such as

reaching streaks of certain milestone lengths or using different portions of the app. Each trophy is

a unique badge to display on a user’s profile.

         64.      All users receive a “Snapscore,” based on their total number of snaps sent and

received. Users can see the scores of friends, causing blows to the self-esteem of many young users

and an addictive drive to increase the score.

         65.      “Snap Map,” a feature of Snapchat that shows the location of other users on a map,

also causes self-esteem and mental health damage to teens. The human desire to belong to an

“ingroup” is powerfully connected to self-worth, especially within teens. In a recent study, young

respondents reported that they check Snap Map to see where their friends were to avoid exclusion,

followed by an increased amount of anxiety. Snap Map allows users to view content constantly with

minimal effort and to check the application to see what they potentially are missing out on.

[A]dolescent users reported feeling “sad,” “inadequate,” and “isolated” after checking Snap Map,

even if they were attempting to avoid these feelings in the first place. [P]articipants who were


15
  Id.
16
  Yael Klein, How Snapchat Streaks Are Getting Teens Addicted to the App, Evolve Treatment Centers,
https://evolvetreatment.com/blog/snapchat-streaks-addicted-teens/ (last visited Sept. 9, 2022) (quoting one teen,
“having more streaks makes you feel more popular.”).


                                                         22
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 25 of 81 PageID #: 25




unsure of their friends’ whereabouts or felt excluded (the uncertain situation), were compelled to

check Snap Map and reported experiencing higher levels of anxiety and low-self-esteem after

doing so. This evaluation of self-worth translates to the participant checking Snap Map to confirm

or deny their beliefs, and then experiencing negative emotional responses after making a

comparison to their friends’ location. Snap Map ... [is] associated with increased feelings of

jealousy and anger in users. Participants expressed how immediate access to locational information

directly impacted their mood, especially when they saw something that confirmed their doubts.

Something interesting to note is that even when participants were aware of the negative feelings

that could arise after checking Snap Map, their desire to confirm or deny self-doubt exceeded

concerns over these potential consequences. 17 Moreover, this feature can be dangerous for naïve

users in that predators can easily locate targeted victims at any given moment.

        66.     Snapchat also includes many appearance changing and face altering image filters

that have inflicted profound body image issues upon teenagers, especially females.

        67.     In November 2020, Snapchat launched “Spotlight.” This portion of the platform

functions and appears nearly identical to TikTok, with similar addictive qualities and harm

infliction. Snapchat also has a “Discover” page that presents a mosaic of algorithmically

recommended content. Once a user subscribes to another user based on what they see on the

Discover page, they can see the other user’s stories from that point forward. Unsurprisingly, one

study of over 2,000 UK residents found 68 percent of respondents who used Snapchat reported

that “the platform prevented them from sleeping.” 18




17
   Jenna Sachs, Psychological Repercussions of Location-Based Social Networks in Today’s Youth,
9 Elon J. of Undergraduate Res. in Comm. 64, 73 (2018),
https://eloncdn.blob.core.windows.net/eu3/sites/153/2018/12/06- Sachs.pdf.
18
   Frazer Deans, Curb Your Snapchat Addiction, https://www.wholesome.design/advent-2018/2-curb-your-
snapchataddiction/ (last visited Sept. 20, 2022).


                                                     23
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 26 of 81 PageID #: 26




IV.    GENERAL FACTUAL ALLEGATIONS

       A.      Teenagers Are Particularly Vulnerable to the Perils of Excessive Social Media
               Use.

       68.     Emerging research shows that the human brain is still developing during

adolescence in ways consistent with adolescents’ demonstrated psychosocial immaturity.

Specifically, adolescents’ brains are not yet fully developed in regions related to risk evaluation,

emotion regulation, and impulse control. The frontal lobes—and, in particular, the prefrontal

cortex—of the brain play an essential part in higher-order cognitive functions, impulse control,

and executive decision-making. These regions of the brain are central to the process of planning

and decision-making, including the evaluation of future consequences and the weighing of risk

and reward. They are also essential to the ability to control emotions and inhibit impulses. MRI

studies have shown that the prefrontal cortex is one of the last regions of the brain to mature.

During childhood and adolescence, the brain is maturing in at least two major ways. First, the brain

undergoes myelination, the process through which the neural pathways connecting different parts

of the brain become insulated with white fatty tissue called myelin. Second, during childhood and

adolescence, the brain is undergoing “pruning”—the paring away of unused synapses, leading to

more efficient neural connections. Through myelination and pruning, the brain’s frontal lobes

change to help the brain work faster and more efficiently, improving the “executive” functions of

the frontal lobes, including impulse control and risk evaluation. This shift in the brain’s

composition continues throughout adolescence and into young adulthood. In late adolescence,

important aspects of brain maturation remain incomplete, particularly those involving the brain’s

executive functions and the coordinated activity of regions involved in emotion and cognition. As

such, the part of the brain that is critical for control of impulses and emotions and mature,

considered decision-making is still developing during adolescence, consistent with the


                                                24
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 27 of 81 PageID #: 27




demonstrated behavioral and psychosocial immaturity of juveniles.

         69.   Because adolescence is the period when sophisticated, essential inhibitory control

functions are being established, the onset of prolonged exposure to toxic content during

adolescence is particularly concerning. The extended development of the prefrontal cortex results

in an adolescent brain that is largely undeveloped, highly malleable, and overwhelmingly

vulnerable to long-term, irremediable effects of adverse influences, including addiction and a

fractured psychological well-being.

         70.   The algorithms in Defendants’ social media products exploit minor users’

diminished decision-making capacity, impulse control, emotional maturity, and psychological

resiliency caused by users’ incomplete brain development. Defendants know, or in the exercise of

reasonable care should know, that because their minor users’ frontal lobes are not fully developed,

such users are much more likely to sustain serious physical and psychological harm through their

social media use than adult users. Nevertheless, Defendants have failed to design their products

with any protections to account for and ameliorate the psychosocial immaturity of their minor

users.

         71.   Adolescents see themselves as increasingly unique. Paradoxically, as part of their

individuation, they conform by faithfully mimicking the behavior of peers. Indeed, in defining

their own emerging identity, adolescents aspire to be viewed as mature adults, and this leads them

to affiliate with and emulate the personalities, images, behaviors, and preferences of those that

they would like to become. During the teenage years, relationships with family members often

take a back seat to peer groups and appearance. Teens crave to identify with their peer group,

achieve social approval, and become “popular.” Many teens feel deep insecurity and are self‐

conscious. They feel people are constantly focused on them, examining them, and judging them



                                                25
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 28 of 81 PageID #: 28




about everything they say and do. They struggle with the inexorable desire to be accepted and

admired by their teen peers, and their biggest fear is to not fit in. This myopic desire to fit in

predisposes teenagers to frequently engage in upward social comparison processes—that is,

identifying and observing others that appear to be experiencing more positive outcomes, and

consequently feeling worse about themselves and their own perceived shortcomings.

         72.    Today’s adolescents are part of Generation Z (which is loosely defined as people

born between 1997 and 2012). They are the first generation of consumers to have grown up in an

entirely post‐digital era, and thus are “digitally native.” The oldest members of this demographic

cohort are just turning 24 this year; however, the substantial majority are believed to be still going

through adolescence. Members of Generation Z spend upwards of three hours per day on the

internet, and another three hours per day using social media. According to a 2018 survey by Pew

Research Center, 45 percent of high school students said they used a social media platform daily,

and 24 percent said that they were online “almost constantly.” 19

         73.    One way that Defendants addict minors is when minors use design features such as

Meta’s “likes,” which cause their brains to release euphoria-causing dopamine. However, as soon as

dopamine is released, their euphoria is countered by dejection: minor users’ brains adapt by

reducing or “downregulating” the number of dopamine receptors that are stimulated. In normal

stimulatory environments, neutrality is restored after this dejection abates. However, Meta’s

algorithms are designed to exploit users’ natural tendency to counteract dejection by going back

to the source of pleasure for another dose of euphoria. Each of Defendants’ platforms have similar

product features that virtually have the same effect as Meta’s.

         74.    Eventually, as this pattern continues over a period of days, weeks, and months, the


19
  Monica Anderson & JingJing Jiang, Teens, Social Media and Technology, Pew Research Center (February 3,
2022), https://www.pewresearch.org/internet/2018/05/31/teens-social-media-technology-2018/.


                                                     26
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 29 of 81 PageID #: 29




neurological baseline to trigger minor users’ dopamine responses increases. Minors then continue

to use these platforms not for enjoyment, but simply to feel normal. When minor users attempt to

stop using Defendants’ social media products, they experience the universal symptoms of

withdrawal from any addictive substance, including anxiety, irritability, insomnia, and craving.

       75.     Addictive use of social media by minors is psychologically and neurologically

analogous to addiction to internet gaming disorder. Gaming addiction is a recognized in the

American Psychiatric Association's 2013 Diagnostic and Statistical Manual of Mental Disorders

(DSM-5) (used by mental health professionals to diagnose mental disorders) and is a recognized

mental health disorder by the World Health Organization and International Classification of

Diseases. The diagnostic symptoms of social media addiction among minors are the same as the

symptoms of addictive gaming promulgated in DSM 5 and include:

       a.      Preoccupation with social media and withdrawal symptoms (sadness, anxiety,

               irritability) when device is taken away or use is not possible (sadness, anxiety,

               irritability).

       b.      Tolerance, the need to spend more time using social media to satisfy the urge.

       c.      Inability to reduce social media usages, unsuccessful attempts to quit gaming.

       d.      Giving up other activities, loss of interest in previously enjoyed activities due to

               social media usage.

       e.      Continuing to use social media despite problems.

       f.      Deceiving family members or others about the amount of time spent on social

               media.

       g.      The use of social media to relieve negative moods, such as guilt or

               hopelessness; and



                                                27
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 30 of 81 PageID #: 30




         h.      Jeopardizing school or work performance or relationships due to social media

                 usage.

         76.     Defendants’ advertising profits are directly tied to the amount of time that its users

spend online. Thus, Defendants enhance advertising revenue by maximizing users’ time online

through a product design that addicts them to the platform, in part by directing them to content that

is progressively more stimulating. However, reasonable minor users and their parents do not expect

that online social media platforms are psychologically and neurologically addictive.

         77.     Defendants’ products could feasibly report the frequency and duration of their

minor users’ screen time to their parents at negligible cost. This would enable parents to track the

frequency, time, and duration of their minor child’s social media, identify and address problems

arising from such use, and better exercise their rights and responsibilities as parents.

         78.     Social comparisons on social media are frequent and are especially likely to be

upward, as social media provides a continuous stream of information about other people’s

accomplishments. 20 Past research suggests that social comparisons occur automatically; when

individuals encounter information about another person, their own self-perceptions will be

affected. The sheer number of posts in a News Feed, each offering a thumbnail sketch of each

person’s carefully curated and predominantly ostentatious content, yields numerous opportunities

for social comparison. Although people do not typically post false information about themselves

online, they do engage in selective self-presentation and are more likely to post eye-catching

content. As a result, individuals browsing their News Feeds are more likely to see posts about

friends’ exciting social activities rather than dull days at the office, affording numerous


20
  Jin Kyun Lee, The Effects of Social Comparison Orientation on Psychological Well-Being in Social Networking
Sites: Serial Mediation of Perceived Social Support and Self-Esteem , Current Psychology (2020),
https://link.springer.com/content/pdf/10.1007/s12144-020-01114-3.pdf.



                                                      28
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 31 of 81 PageID #: 31




opportunities for comparisons to seemingly better-off others. Individuals with vacillating levels of

self-esteem and certitude, characteristics notoriously endemic to the teenage cohort, are

particularly oriented to making frequent and extreme upward social comparisons on social media,

which in turn threatens their mental health. Social-media-induced social comparison often results

in a discrepancy between the ideal self and the real self, thus evoking a sense of depression,

deprivation, and distress, resulting in an overall aggravation of one’s mental state. 21 Since the early

2000s, studies have shown that frequent upward social comparison results in lower self-esteem

and reduced overall mental health. 22 It has also long been known that individuals who are more

likely to engage in self-comparison are likewise more likely to have negative outcomes when using

social media. To cope with wavering self-esteem, digitally native adolescents often become

envious of others and resort to cyberbullying to deconstruct the point of comparison’s perceived

superiority and preserve an increasingly delicate ego. These natural dynamics in youth are

exacerbated to psychologically injurious levels by Defendants’ platforms’ progressively toxic

environment, which is discussed in further detail below.

         79.      Defendants’ products contain image altering filters that cause mental health harms

in multiple ways. 23 First, because of the popularity of these editing tools, many of the images


21
   This schism between the ideal self and the real self, and the attendant dissatisfaction with reality, is further
exacerbated by Meta’s use of physical-augmentation technology, which allows users to utilize photo and video
filters to make remove blemishes, make the face appear thinner, and lighten the skin-tone, all to make themselves
appear more “attractive.”

Appearance-altering filters are widely-used across Defendants’ platforms. Many filters are designed to make users
appear more attractive, according to criteria developed by Defendants—they remove blemishes, make the face
appear thinner, and lighten skin-tone. Especially in combination with the platforms’ general-feed algorithm, these
filters can cause users to make false comparisons between their real-life appearances and the appearances of the
people they see in Facebook and Instagram content. These features can also cause users to make negative
comparison between their appearance with a filter and without one. As discussed below, Meta has long been aware
of the harm these features can cause
22
   Claire Midgley, When Every Day is a High School Reunion: Social Media Comparisons and Self-Esteem (2020),
https://www.researchgate.net/publication/342490065_When_Every_Day_is_a_High_School_Reunion_Social_Medi
a_Comparisons_and_Self-Esteem.
23
   Anna Haines, From ‘Instagram Face’ To ‘Snapchat Dysmorphia’: How Beauty Filters Are Changing The Way


                                                         29
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 32 of 81 PageID #: 32




teenagers see have been edited by filters. It can be difficult for teenagers to remain cognizant of

the use of filters while viewing content, resulting in a false reality where all other users on the

platforms appear better looking than they are. By comparing their real-life appearance to the edited

appearance of others online, teens’ perception of their physical features become negative. Second,

teenagers often prefer the way they look using filters, noticing an increase in interaction and positive

responses when their photos are edited with filters. Many young users believe they are only

attractive when their images are edited, not as they appear naturally. Third, the specific changes

filters make to individuals’ appearance can cause negative obsession or self-hatred surrounding

aspects of their appearance. The filters alter specific facial features such as eyes, lips, jaw, face

shape, face slimness, etc,—features that often require medical intervention to alter in real life.

         80.      In a 2016 study, 52 percent of girls said they use image filters every day, and 80

percent have used an app to change their appearance before the age of 13. 24 In fact, 77 percent of

girls reported trying to change or hide at least one part of their body before posting a photo of

themselves, and 50 percent believe they did not look good without editing.25 Filters, especially in

combination with other product features, directly cause body image issues, eating disorders, body

dysmorphia, and related issues. 26 As one study of 481 university students found, spending more



We See Ourselves, Forbes (Apr. 27, 2021 at 1:19 PM EDT),
https://www.forbes.com/sites/annahaines/2021/04/27/from- instagram-face-to-snapchat-dysmorphia-how-beauty-
filters-are-changing-the-way-we-see- ourselves/?sh=3c32eb144eff.
24
   Id.
25
   Haines, supra note 36 (“In October, Instagram announced that it would be removing “all effects associated with
plastic surgery” from its filter arsenal, but this appears to mean all effects explicitly associated with plastic surgery,
such as the ones called “Plastica” and “Fix Me.” Filters that give you Instagram Face will remain.”).
26
   See Sian McLean, Susan Paxton, Eleanor Wertheim, & Jennifer Masters, Photoshopping the selfie: Self photo
editing and photo investment are associated with body dissatisfaction in adolescent girls, 48 Int’l J. of Eating
Disorders 1132, 1133 (Aug. 27, 2015), https://pubmed.ncbi.nlm.nih.gov/26311205/ (presenting a 2015 study
involving 101 adolescent girls, more time spent editing and sharing selfies on social media raised their risk of
experiencing body dissatisfaction and disordered eating habits.); Jing Yang, Jasmine Fardouly, Yuhui Wang, & Wen
Shi, Selfie-Viewing and Facial Dissatisfaction among Emerging Adults: A Moderated Mediation Model of
Appearance Comparisons and Self-Objectification, 17 Int’l J. of Env’t Res. and Pub. Health 672, 672 (Jan. 2020),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7013747/; Scott Griffiths, Stuart Murray, Isabel Krug, & Sian
McLean, The Contribution of Social Media to Body Dissatisfaction, Eating Disorder Symptoms, and Anabolic


                                                           30
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 33 of 81 PageID #: 33




time viewing selfies can increase dissatisfaction with one’s own face, spending more time looking

at selfies (and reviewing their likes and comments) can cause users to draw more comparisons

between themselves and others, prompting even more self-criticism. 27 Relatedly, a

psychodermatologist stated, “these apps subconsciously implant the notion of imperfection and

ugliness generating a loss of confidence.” 28

        81.      In another recent study, even users that report a higher initial level of self-esteem

felt they looked 44 percent worse before their image was edited using a filter. When a filter

increases a gap between how individuals want to look and how they believe they actually look, it

“reduces their self-compassion and tolerance for their own physical flaws.” 29

        82.      The dangers associated with teenagers’ engagement in upward social comparison

while on social media is compounded by Defendants’ deft and discreet construction of an

atmosphere capable of exploiting the impulse control issues of even the most mature adults. Thus,

Defendants’ product is predictably highly addictive. Meta’s products have key components that

make the platforms highly addictive, including IVR and its Facial Recognition System (“FRS”).

Upon information and belief, each of Defendants’ products utilize similar technology.

        83.      Other psychological manipulations used to intertwine social media users include,

but are not limited to: (1) the FRS system, which has already collected for distribution to various

third parties a billion individual facial recognition templates and is otherwise used by Meta to

identify and tag people in photos; (2) how Meta, in particular, uses wavy dots to reflect that


Steroid Use Among Sexual Minority Men, 21 Cyberpsychology Behavior, and Soc. Networking 149, 149 (Mar. 1,
2018), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5865626/.
27
   Yang et al., supra note 39.
28
   Genesis Rivas, The Mental Health Impacts of Beauty Filters on Social Media Shouldn’t Be Ignored – Here’s Why,
InStyle (Sept. 14, 2022 at 2:05PM), https://www.instyle.com/beauty/social-media-filters-mental-health.
29
   Ana Javornik, Ben Marder, Marta Pizzetti, & Luk Warlop, Research: How AR Filters Impact People’s Self-Image,
Harvard Business Review (December 22, 2021), https://hbr.org/2021/12/research-how-ar-filters-impact-peoples-
self-image.



                                                      31
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 34 of 81 PageID #: 34




someone is currently writing you a message, which is designed to keep you on the platform until

you receive the message or shorten the time for you to return and check for a message; and (3) the

concept of social reciprocity, a variance of quid pro quo, pursuant to which Meta alerts you when

someone has read your message, which encourages the receivers to respond—because the sender

knows the message has been read—and simultaneously prompts the sender to return to check for

the seemingly inevitable response. In sum, this perilous amalgamation of intense psychological

vulnerability and targeted exploitation foreseeably causes various harms for today’s youth,

including, but not limited to, social media addiction; withdrawal from friends, family, and social

and academic advancement; lack of focus; anxiety; body dysmorphia; eating disorders; death

resulting from eating disorders; depression; difficulty sleeping; fatigue; headaches; migraines; loss

of vision; eye strain; self-harm; and suicide.

       B.      Known and Unknown Product Defects

       84.     Upon information and belief, all three of Defendants’ platforms (Facebook,

Instagram, and Snapchat) have been designed, maintained, and constantly updated by some of the

most wealthy, powerful, and sophisticated corporations in the world. Large teams of expert data

scientists, user experience (“UX”) researchers, and similar professionals have spent years fine

tuning each platform to addict users. Every aspect of each platforms’ interface, each layer of its

subsurface algorithms and systems, and each line of underlying code, has been crafted by

extraordinarily brilliant minds. Every detail—the color of app icons, the placement of buttons

within the interface, the timing of notifications, etc.—is designed with the goal of increasing the

frequency and length of use sessions. Many product features, such as the innerworkings of algorithms,

are secret and unobservable to users. Therefore, it is impossible to create a comprehensive list of

addictive, harm-causing defects in the platforms until in-depth discovery takes place. Discovery




                                                 32
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 35 of 81 PageID #: 35




throughout litigation will support further elaboration regarding the specifics of product defects.

         85.     However, across all platforms, features that make the products addictive and likely

to cause the mental and physical health harms include, but are not limited to: (1) engagement-

based ranking (sorting content on a user’s feed based on engagement or “meaningful social

interactions” rather than chronology); (2) intermittent variable rewards (a system of “likes”,

comments, strategically-timed notifications, promoting the content of new users and users who

have not posted in a while, among other features); (3) face tracking and augmentation (i.e., photo

and video filters designed to make users appear more attractive); (4) endless scrollable content

(especially auto-playing video content such as the Instagram “Reels” content feed); (5) limits to

content length, (6) notifications, (7) interface design decisions (such as button placement), (8)

autoplay, (9) hand-reflex conditioning UX design, (10) content stockpiling (such as “saving”

videos in TikTok, Snapchat Memories, etc.), (11) the interaction of these features 30; and (12) other

features of the platform that are currently unknown and hidden from users and governments.

         86.     Many of these features take advantage of psychological principles such as “loss

aversion” (the principle that people prefer avoiding losses to acquiring equivalent gains), the “sunk

cost fallacy” (the more people invest in something, the more likely they are to continue that

behavior), and gamification (“The application of typical elements of game playing (e.g., point

scoring, competition with others, rules of play) to other areas of activity, typically as an online

marketing technique to encourage engagement with a product or service.”). 31 Gamification in these

social media platforms is used with the objective of maximizing corporate profits through user-

engagement, to the detriment of user health. Interestingly, the same principles of gamification have


30
   The features have a distinct and harsher impact when they interact – for example, becoming addicting to
Instagram through variable rewards lengthens use time and increases the impact of harmful beauty standards from
“pretty” filters
31
   Gamification, Ascio, https://ascio.ca/gamification (last visited Sept. 20, 2022).


                                                       33
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 36 of 81 PageID #: 36




been used with the sole objective of improving user mental health in mental health treatment

platforms such as Beanfee. 32

         C.      Defendants Knowingly Exploit Teenage Vulnerabilities for Unjust Gain

         87.     Enacted in 1998 and finalized by a U.S. Federal Trade Commission rulemaking in

2000, the Children’s Online Privacy Protection Act, or “COPPA,” regulates the conditions under

which commercial web sites that either target children under age 13 or have actual knowledge of

children under age 13 using their site can collect and use information about them. As a result of

COPPA, website operators must obtain “verifiable parental consent” from parents prior to the

collection and use of information about children under age 13. Defendants have chosen to avoid

these obligations by purporting to ban all those younger than 13 through its terms of service.

         88.     Defendants state that children under the age of thirteen are prohibited from using

their products, but Defendants knowingly lack effective age-verification protocols. To date, this

problem has largely been unaddressed. For example, since at least 2011, Meta has known that its

age-verification protocols are largely inadequate, then estimating that it removes 20,000 children

under age 13 from Facebook every day. Meta claims to have removed at least six hundred thousand

underage users in 2021. However, Zuckerberg himself has stated that, notwithstanding the spirit

of COPPA, younger children should be allowed to get on Facebook.

         D.      Defendants’ Business Models Encourage Problematic Use to Maximize Screen
                 Time, Thereby Increasing Revenue.

         89.     Defendants advertise their products as “free” because they do not charge their users

for downloading or using their products. But many users do not know that Defendants make a profit



32
  The Beanfee Team, Why are Snapchat streaks so Addictive, Beanfee (Aug. 28, 2021),
https://beanfee.com/articles/why-are-snapchat-streaks-so-addictive/ (“Our prototype has now been in testing with
various schools and mental health institutions for over a year and is already yielding great results.”).



                                                        34
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 37 of 81 PageID #: 37




by finding unique and increasingly dangerous ways to capture user attention, acquire data about

users, and target advertisements to their users. Defendants receive revenue from advertisers who

pay a premium to target advertisements to specific demographic groups of users in the applications.

The amount of revenue Defendants receive is based on the amount of time and level of user

engagement on their platforms, which directly correlates with the number of advertisements that

can be shown to each user. Defendants design features are not necessary to maximize the

communicative utility of the applications, but instead seek to exploit users’ susceptibility to

persuasive design and unlimited accumulation of unpredictable and uncertain rewards (such as

“likes,” “followers,” “views,” “streaks,” “trophies,” and “charms”). Defendants use unknown and

changing incentives that, by design, prompt users to consume their social media products in

excessive and dangerous ways. Defendants know, or in the exercise of ordinary care should know,

that their designs have created extreme and addictive usage by their minor users, and Defendants

knowingly or purposefully designed its products to encourage such addictive behaviors. For

example, Snapchat users do not know all the possible achievements they can unlock, and some are

unlocked on inconsistent and unpredictable schedules. This design conforms to well-established

principles of operant conditioning wherein intermittent reinforcement provides the most reliable

tool to maintain a desired behavior over time. This design is akin to a slot machine but is marketed

toward minor users, who are even more susceptible than gambling addicts to Defendants’ variable

reward and notification systems. Instagram’s “pull to refresh” feature is also based on how slot

machines operate. This Instagram feature creates an endless feed, designed to manipulate brain

chemistry and prevent natural end points that would otherwise encourage users to move on to other

activities. According to industry insiders and whistleblower(s), Defendants have employed a

multitude of psychologists and engineers to help make their products maximally addicting.




                                                35
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 38 of 81 PageID #: 38




       90.     Defendants did not warn users of the addictive designs of their products. To the

contrary, Defendants actively conceal the dangerous and addictive nature of their platforms,

consistently minimizing in public statements and in advertising the negative effect that the

products have on users.

       E.      Plaintiff Expressly Disclaims Any and All Claims Seeking to Hold Defendants
               Liable as the Publisher or Speaker of Any Content Provided, Posted, or
               Created by Third Parties.

       91.     Plaintiff seeks to hold Defendants accountable for their own alleged acts and

omissions. Plaintiff’s claims arise from Defendants’ status as the designer and marketer of

dangerously defective social media products, not as the speaker or publisher of third-party content.

       92.     Plaintiff alleges that Defendants failed to warn minor users and their parents of

known dangers arising from anticipated use of their social media platforms. None of Plaintiff’s

claims rely on treating Defendants as the publisher or speaker of any third party’s words. Plaintiff’s

claims seek to hold Defendants accountable for their own allegedly wrongful acts and omissions,

not for the speech of others or for any attempts by Defendants to restrict access to objectionable

content.

       93.     Plaintiff is not alleging that Defendants are liable for what third parties have said,

but rather, for what Defendants did or did not do.

       94.     None of Plaintiff’s claims for relief set forth herein require treating Defendants as

a speaker or publisher of content posted by third parties. Rather, Plaintiff seeks to hold Defendants

liable for their own speech, deliberate decisions, and their own silence in failing to warn of

foreseeable dangers arising from the anticipated use of their products. Defendants could manifestly

fulfill their legal duty to design reasonably safe products and furnish adequate warnings of

foreseeable dangers arising out of their products, without altering, deleting, or modifying the




                                                 36
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 39 of 81 PageID #: 39




content of a single third-party post or communication.

V.     PLAINTIFF-SPECIFIC ALLEGATIONS

       95.     Plaintiff Jennifer Krull is the mother of the Carson Decus, a child who died by

suicide after becoming a heavy user of Defendants’ platforms.

       96.     Shortly after registering to use Defendants’ platforms, Carson began engaging in

addictive and problematic use of the platform(s). Carson’s interest in any activity other than

viewing and posting on Defendants’ platforms progressively declined.

       97.     Carson, like many, was a pre teen when he began using social media as a means of

communication and connection. At age 14 he took his own life.

       98.     Prompted by the addictive design of Defendants’ product(s), and the constant

notifications that Defendants’ platform(s) pushed to Carson 24 hours a day, Carson developed a

compulsion to engage with Defendants’ platforms, and began getting less and less sleep.

       99.     As a proximate result of his compulsion to interact with Defendants’ platforms, and

specifically due to recommendations and content Defendants selected and showed to him, Carson

developed depression and anxiety, which would ultimately lead to his death by suicide.

       100.    Carson had never been diagnosed with an underlying mental disease or disorder,

and his suicide was a massive shock to his family, including Plaintiff, Jennifer Krull.

       101.    Plaintiff Krull, Carson’s mother, reports that one of the last actions Carson took on

this earth was to utilize the Snapchat platform. Due to the ephemeral nature of the platform, we

may never be able to know what Carson saw, sent, or said on this app in his final moments.

       102.    Defendants have designed their platforms(s) to allow minor users, including Carson,

to become addicted to and abuse their products without the consent of the users’ parents.

       103.    Defendants have specifically designed their platform(s) to be attractive nuisances




                                                37
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 40 of 81 PageID #: 40




to underage users, while failing to exercise the ordinary care owed to underage business invitees

to prevent the rampant, foreseeable, and deleterious impacts on minor users that access

Defendants’ platforms.

       104.    Neither Carson nor Plaintiff was aware of the addictive and mentally harmful effects

of Defendants’ platforms when Carson began to use the products. Defendants not only failed to

warn Plaintiff of the dangers of social media compulsion, sleep deprivation, and problematic use

of Defendants’ platforms, but they also misrepresented the safety, utility, and non-addictive

properties of their products. For example, the head of Instagram testified under oath at a December

8, 2021, Senate Committee hearing that Instagram does not addict its users. Indeed, Meta

intentionally designed Facebook and Instagram to elicit intermittent dopamine releases within

users’ brains, a behavior modification scheme devised to surreptitiously ensnare users in an infinite

loop of platform use and dopamine withdrawal:

                When Facebook was getting going, I had these people who would come up
       to me and they would say, 'I'm not on social media.' And I would say, 'OK. You
       know, you will be.' And then they would say, 'No, no, no. I value my real-life
       interactions. I value the moment. I value presence. I value intimacy.' And I would
       say . . . 'We'll get you eventually.' I don't know if I really understood the
       consequences of what I was saying, because [of] the unintended consequences of a
       network when it grows to a billion or 2 billion people and . . . it literally changes
       your relationship with society, with each other . . . It probably interferes with
       productivity in weird ways. God only knows what it's doing to our children's brains.
       The thought process that went into building these applications, Facebook being the
       first of them . . . was all about: 'How do we consume as much of your time and
       conscious attention as possible? And that means that we need to sort of give you a
       little dopamine hit every once in a while, because someone liked or commented on
       a photo or a post or whatever. And that's going to get you to contribute more
       content, and that's going to get you . . . more likes and comments.’ It's a social-
       validation feedback loop . . . exactly the kind of thing that a hacker like myself
       would come up with, because you're exploiting a vulnerability in human
       psychology. The inventors, creators—it's me, it's Mark [Zuckerberg], it's Kevin
       Systrom on Instagram, it's all of these people—understood this consciously. And
       we did it anyway.

Ellie Silverman, Facebook’s First President, on Facebook: “God only knows what it’s doing to


                                                 38
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 41 of 81 PageID #: 41




our children’s brains” (November 9, 2017, last visited July 29, 2022, at 1:54 PM CST)

https://www.washingtonpost.com/news/the-switch/wp/2017/11/09/facebooks-first-president-on-

facebook-god-only-knows-what-its-doing-to-our-childrens-brains/.

       105.    As a result of Carson’s extensive and problematic use of Defendants’ platforms,

Carson committed suicide, and Plaintiff lost a child.

                     FIRST CAUSE OF ACTION—ALL DEFENDANTS
                         STRICT LIABILITY—DESIGN DEFECT

       106.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       107.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Missouri. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Missouri.

       108.    At all relevant times, Defendants designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and/or benefited from the

products and platforms that Decedent used.

       109.    Defendants’ products were designed and intended to be used as social media

platforms.

       110.    Defendants’ products as designed were unreasonably dangerous, posed a

substantial likelihood of harm, and were therefore defective because of reasons enumerated in the

Complaint—including, but not limited to, risks of social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

Attention Deficit Hyperactivity Disorder (“ADHD”), difficulty sleeping, fatigue, headaches,


                                                     39
     Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 42 of 81 PageID #: 42




migraines, loss of vision, and eye strain, among other harmful effects.

         111.    Defendants defectively designed the platforms to specifically appeal to and addict

minors and young adults, who were particularly unable to appreciate the risks posed by the

platforms, and who were particularly susceptible to harms from those products.

         112.    Defendants effectively designed the platforms to be addictive and take advantage

of the chemical reward system of users’ brains (especially young users) to create addiction and

additional mental and physical health harms.

         113.    Defendants defectively designed their platforms, which are inherently dangerous

because they included features making the product addictive and likely to cause the mental and

physical health harms listed above. These features include, but are not limited to: (1) engagement-

based ranking (sorting content on a user’s feed based on engagement or “meaningful social

interactions” rather than chronology); (2) intermittent variable rewards (a system of “likes”,

comments, strategically-timed notifications, promoting the content of new users and users who

have not posted in a while, among other features); (3) face tracking and augmentation (i.e., photo

and video filters designed to make users appear more attractive); (4) endless scrollable content

(especially auto-playing video content such as the Instagram “Reels” content feed); (5) limits to

content length, (6) notifications, (7) interface design decisions (such as button placement), (8)

autoplay, (9) hand-reflex conditioning UX design, (10) content stockpiling (such as “saving”

videos in TikTok, Snapchat Memories, etc.), (11) the interaction of these features 33; and (12) other

features of the platform which are currently unknown and hidden from users and governments.

         114.    Defendants defectively designed the platforms and Defendants failed to test as to


33
  The features have a distinct and harsher impact when they interact – for example, becoming addicting to
Instagram through variable rewards lengthens use time and increases the impact of harmful beauty standards from
“pretty” filters.



                                                       40
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 43 of 81 PageID #: 43




the safety of features they developed and implemented for use in the platforms. Once Defendants

did perform some product testing and had knowledge of ongoing harm to Decedent, they failed to

adequately remedy the product defects or warn Decedent.

        115.    Defendants’ products do not perform as safely as a reasonable and ordinary

consumer would reasonably assume and reasonably expect. Defendants’ products pose a risk of

serious mental and physical health injuries, as listed above.

        116.    The risks inherent in the design of Defendants’ products significantly outweigh any

benefits of such design.

        117.    Defendants could have utilized cost effective, reasonably feasible alternative

designs to minimize these harms, such as by designing products without the harm causing features

listed above, that were less addictive, less likely to cause mental health harms, while still providing

an optimal social media experience and facilitating social connection.

        118.    Defendants could have limited the duration of login sessions to prevent harmful,

extended use of the platforms and could have designed the platforms to log users out for a period

of time if excessive use occurred. It is well established in research that to effectively stay connected

socially, a person only needs a limited amount of use time. Instead, Defendants designed a product

that uses behavioral engineering to maximize the number of use sessions and length of use per

session, resulting in serious harm to users, including Plaintiff and Decedent.

        119.    Defendants could have used technology to enable user-level access restrictions so

that use was tied to a user’s age verification, or they could have employed other youth protecting

features, thereby restricting underage children from using the platforms.

        120.    Defendants could have utilized cost effective, reasonably feasible alternative

designs to minimize these harms, including, but not limited to:



                                                  41
Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 44 of 81 PageID #: 44




    a.    Designing platforms that did not include the features listed above while still

          fulfilling the social interest, and business networking purposes of a social media

          platform;

    b.    Default protective limits to length of use, frequency of use, or content types;

    c.    Opt-in restrictions to length of use, frequency of use, or content types;

    d.    Session time limits;

    e.    Blocks to use during certain times of day (such as morning, during work or school

          periods, or during evenings);

    f.    Session time notifications, warnings, or reports;

    g.    Warning of health effects of use and extended use upon sign-up;

    h.    Parental controls;

    i.    Notification to parents regarding their child’s extensive use, use during sleep hours,

          or exposure to harmful content on the platform,

    j.    Self-limiting tools;

    k.    Implementing labels on images and videos that have been edited through the

          platform;

    l.    Age-based content filtering;

    m.    General content filtering;

    n.    Algorithmic (whether default or opt-in) reductions or elimination in a user’s feed

          of potentially harmful content (e.g., content that causes negative social comparison

          and misleading lack of realism) such as in the genres of lifestyle, influencer, beauty,

          fitness, success flaunting, and/or heavily edited images and videos;

    o.    Algorithmic (whether default or opt-in) reductions or elimination in a user’s feed



                                            42
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 45 of 81 PageID #: 45




                of potentially harmful content, such as inappropriate or salacious content;

        p.      Algorithmic (whether default or opt-in) reductions or elimination in a user’s feed of

                potentially harmful content such as controversial, political, or emotionally

                weighted content;

        q.      Algorithmic (whether default or opt-in) reductions or elimination in a user’s feed

                of potentially harmful content such as content encouraging or promoting eating

                disorders, depressive thinking, self-harm, or suicide;

        r.      Informational labelling about the misleading and unrealistic nature of the content

                on a user’s feed and the resulting feed composite because of content editing and

                algorithmic recommendation, presentation, and sorting;

        s.      Chronological presentation of content rather than algorithmic; and

        t.      Many other less harmful alternatives.

        121.    Instead, Defendants designed platforms that aggressively addict users with

algorithms and features that increase addictiveness, use time, frequency of use, attention stealing,

engagement with the platform, mental health harms, and profit to Defendants, all to the detriment

of users’ wellbeing—and particularly minor users.

        122.    It is reasonable for parents to expect that social media products that actively

promote their platforms to minors will undertake reasonable efforts to notify parents when their

child’s use becomes excessive, occurs during sleep time, or exposes the child to harmful content.

Defendants could feasibly design the products to identify minor users who are using the product

excessively, using it during sleeping hours, or being exposed to harmful content, and notify their

parents, at negligible cost.

        123.    Engagement-based ranking and intermittent variable rewards are highly addictive,



                                                 43
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 46 of 81 PageID #: 46




promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of

viewing content that is innately harmful or in a manner that is harmful, and present a false reality.

Image and video filters inflict unrealistic and biased beauty standards upon users and cause

harmful social comparison based on a misleading curation of peers’ appearances, especially among

teenage users.

       124.      The collaboration of these features multiplies the platforms’ power to inflict harm

by heightening the platform’s addictive nature, increasing exposure to content that triggers

negative social comparison, exposing users to innately harmful content, increasing time of

exposure to harm, further encouraging bullying and promoting conflict, and multiplying harm in

other ways.

       125.      The features combine to create a user interface of endless, auto-playing, image and

video content, that is algorithmically sorted to place the most attention-grabbing content at the top

and/or in a distilled feed that is very difficult to cease consuming, especially for young users.

Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or

lifestyles, which causes negative physical or social comparison, especially among teens.

Defendants’ algorithms also promote controversial, disturbing, negative, and/or emotionally

charged content, causing harm to users.

       126.      The combined result of these features is to present to users a false reality. It presents

to users a world that is constantly controversial and negative, where most other people are

exceedingly more attractive than the user; where most other people are exceedingly more

successful and/or competent than the user; and which will facilitate and encourage harmful

behaviors such as self-harm and eating disorders.

       127.      These features take advantage of biological systems, human behavior, and




                                                    44
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 47 of 81 PageID #: 47




psychology, to addict and condition users to engage in repetitive content-consuming actions such

as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,

the users’ input and behavior are tracked to allow the platform to automatically tune itself to each

individual user to become highly addictive and as difficult to stop engaging with as possible.

       128.    Defendants failed to design the product with adequate warnings about the likely

and foreseeable harms of use.

       129.    Defendants specifically intended for minors to use their products and were aware

that minors were doing so.

       130.    Decedent used Defendants’ products as intended or in reasonably foreseeable ways.

       131.    Decedent’s suicide and Plaintiff’s resulting injuries—physical, emotional, and

economic—were reasonably foreseeable to Defendants at the time of the products’ design,

marketing, and operation.

       132.    Defendants’ products were defective and unreasonably dangerous when they left

Defendants’ sole possession/control and were offered to users. The defects continued to exist

through use by consumers, including Decedent, who used the products without any substantial

change in the products’ condition.

       133.    The defective design of Defendants’ products directly and proximately caused harm

to Carson and to Plaintiff. The addictive nature of Defendants’ social media platforms, as described

above, caused Carson to use the platforms extensively. His use directly and foreseeably caused

him to suffer numerous harms during his life, including depression, anxiety, interrupted sleep, and

suicidal ideation.. And ultimately, Carson’s use of these platforms caused his death by suicide.

The defective design of Defendants’ products also directly and proximately caused harm to

Plaintiff. Among other harms, she incurred mental pain and suffering, the loss of her son’s



                                                45
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 48 of 81 PageID #: 48




consortium, and economic harm that includes, but is not limited to, lost earnings and loss of earning

capacity.

          Plaintiff demands judgment against Defendants for compensatory and punitive damages,

together with interest, costs of suit, attorneys' fees, and all such other relief as the Court deems

proper.

                     SECOND CAUSE OF ACTION—ALL DEFENDANTS
                        STRICT LIABILITY—FAILURE TO WARN

          134.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

          135.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Missouri. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Missouri.

          136.   At all relevant times, Defendants designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Plaintiff used.

          137.   Defendants’ products were and are in a defective condition that is unreasonably

dangerous and unsafe to the consumer by failing to adequately warn users about the risk that the

platforms pose of social media addiction, depression, body dysmorphia, anxiety, suicidal ideation,

self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa,

death by suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue,

headaches, migraines, loss of vision, eye strain, among other harmful effects, as described herein.

          138.   Defendants were aware that their products posed, among other things, the above-

stated risks considering scientific and medical knowledge that was generally accepted at the time


                                                     46
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 49 of 81 PageID #: 49




of design, development, coding, dissemination, public release, and operation of platforms.

       139.         For example, Defendants failed to warn consumers, including Decedent, in the

platforms’ notices and through the marketing, promotion and advertising of the platforms that,

according to Meta’s own research:

       a.           At least five-to-six percent of fourteen-year-olds admit to addiction to the platform;

       b.        Sixty-six percent of teen girls and forty-six percent of teen boys have experienced

                     negative social comparisons on Instagram;

       c.            Facebook makes body-image issues worse for one-third of girls;

       d.            Thirteen-and-one-half percent of teen-girl Instagram users say the platform makes

                     thoughts of suicide and self-injury worse;

       e.            Seventeen percent of teen-girl Instagram users say the platform makes eating issues

                 worse; and

       f.        Instagram users are twice as likely to develop an eating disorder as those who do

                    not use social media.

       140.         Meta, in particular, is also defective for failing to warn users that:

       a.           Engagement-based ranking and intermittent variable rewards are

                i.          highly addictive,

              ii.           promote harmful social comparison,

              iii.          promote negative, controversial, and/or emotionally activating content,

              iv.           promote negative, harmful, and/or dangerous interest groups and/or

                            content creators,

               v.           encourage bullying and conflict,

              vi.           can trap users in a cycle of viewing content that is innately harmful or in a



                                                      47
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 50 of 81 PageID #: 50




                           manner that is harmful, such as content related to eating disorders,

                           depression, or self-harm,

            vii.           present a false reality (regarding one’s comparative status to their peers,

                           and/or the general state of world or political affairs);

       b.       Face tracking and augmentation (image and video filters):

               i.          inflict unrealistic and biased beauty standards upon users,

              ii.          cause harmful social comparison based on a misleading curation of peers’

                           appearances and success, especially among teenage female users;

       c.           The platforms cause the mental and physical health harms as listed above;

       d.           The likelihood of these harms and likely severity for these harms are even greater

                for the developing brains of minors;

       e.        The likelihood and intensity of these harmful effects are exacerbated by the

                    interaction of these features; and

       f.           The likelihood and intensity of these harmful effects are increased by other features

                    and innerworkings of the platforms which are currently publicly unknown and

                    hidden from users and governments.

       141.         Through their incredible power as the premier social media companies (and/or

association with such companies), Defendants have silenced and suppressed information, research

efforts, and public awareness efforts regarding the harmful heath impact of their platforms.

       142.         Rather than warning users of likely harms, Defendants regularly fine-tune the

platforms to aggressively psychologically engineer new and current users to increase addiction

and exposure to the platforms, causing and increasing other mental and physical harms. The

platforms encourage users to recruit more users across their personal contacts.




                                                       48
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 51 of 81 PageID #: 51




       143.       The failure of Defendants to adequately warn about their defective products and

choice to instead misleadingly advertise through conventional, online, and peer-to-peer avenues

created a danger of injuries described herein that were reasonably foreseeable at the time of design,

distribution, dissemination, and operation of the platforms.

       144.       Ordinary consumers would not have recognized the potential risks of Defendants’

products when used in a manner reasonably foreseeable to Defendants.

       145.       Defendants are strictly liable for creating, operating, and unleashing defective

platforms that contained inadequate warnings.

       146.       Plaintiff could not have averted injury through the exercise of reasonable care for

reasons including Defendants’ concealment of the true risks posed by Defendants’ products.

       147.       The defects in Defendants’ products, including the lack of adequate warnings and

instructions, existed at the time the products left Defendants’ sole possession and continued to

exist through the products’ dissemination to and use by consumers, including Decedent.

Defendants’ products were used without substantial change in their condition, by anyone other

than Defendants and its employees, from the time of their development.

       148.       At all relevant times, Defendants could have provided adequate warnings and

instructions to prevent the harms and injuries set forth herein, such as providing full and accurate

information about the products in advertising, at point of sign-up, and at various intervals of the

user interface.

       149.       Carson suffered injuries and death as a direct and proximate result of Defendants’

failure to warn and instruct. Had users been warned effectively of the dangers presented by

Defendants’ products, Plaintiff would not have permitted Carson to sign up or use Defendants’

products, and Carson would not have used or signed up on Defendants’ products. Plaintiff would




                                                  49
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 52 of 81 PageID #: 52




not have permitted Carson to sign up or use Defendants’ products, and Carson would not have

used or signed up on Defendants’ products, had Carson received adequate warnings and

instructions that he could be harmed by platform design that hijacks a user’s neural reward system,

develop an addiction, be exposed to an algorithmic content feed causing negative social and

appearance comparison and a negative false presentation of reality, and suffer injuries including

social media compulsion, self-harm, multiple periods of suicidal ideation, depression, severe

anxiety, an eating disorder(s), body dysmorphia, and a reduced inclination or ability to sleep,

among other harmful effects, which may cause or contribute to additional harms, including but not

limited to committing suicide.

          150.   The platforms’ lack of adequate and sufficient warnings and instructions, and its

inadequate and misleading advertising, was the proximate cause and/or a substantial contributing

factor in causing the Decedent’s death and the resulting harms to Plaintiff, as described above.

          151.   Plaintiff demands judgment against Defendants for compensatoryand punitive

damages, together with interest, costs of suit, fees, and all such other relief as the Court deems

proper.

                     THIRD CAUSE OF ACTION—ALL DEFENDANTS
                      PRODUCTS LIABILITY—NEGLIGENT DESIGN

          152.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

          153.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Missouri. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Missouri.

          154.   At all relevant times, Defendants designed, developed, managed, operated,


                                                     50
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 53 of 81 PageID #: 53




inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Decedent used.

           155.   Defendants’ products were designed and intended to be used as social media

platforms.

           156.   Defendants knew or, by the exercise of reasonable care, should have known use of

Defendants’ products was dangerous, harmful, and injurious when used by Decedent in a reasonably

foreseeable manner, particularly so with minors and young adults.

           157.   Defendants knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Decedent would not have realized the potential risks and dangers of

Defendants’ products. Defendants’ products are highly addictive and likely to cause mental and

physical injuries as listed above.

           158.   Defendants owed a duty to all reasonably foreseeable users to design a safe product.

           159.   Defendants breached their duty by failing to use reasonable care in the design of

their platforms because the products were addictive; had mental, cognitive, and physical health

impacts; and had a likelihood of causing social media addiction, depression, body dysmorphia,

anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia

nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus, ADHD,

difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other harmful

effects.

           160.   Defendants breached their duty by failing to use reasonable care in the design of

their products by negligently designing the platforms with physically and mentally harmful

features including, but not limited to: (1) engagement-based ranking (sorting content on a user’s

feed based on engagement or “meaningful social interactions” rather than chronology); (2)




                                                   51
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 54 of 81 PageID #: 54




intermittent variable rewards (a system of “likes”, comments, strategically-timed notifications,

promoting the content of new users and users who have not posted in a while, among other

features); (3) face tracking and augmentation (i.e., photo and video filters designed to make users

appear more attractive); (4) endless scrollable content (especially auto-playing video content such

as the Instagram “Reels” content feed); (5) the interaction of these features; and (6) other features

of the platform which are currently unknown and hidden from users and governments.

       161.      Engagement-based ranking and intermittent variable rewards are highly addictive,

promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of

viewing content that is innately harmful or in a manner that is harmful, and present a false reality.

Image and video filters inflict unrealistic and biased beauty standards upon users and cause

harmful social comparison based on a misleading curation of peers’ appearances, especially among

teenage users.

       162.      The collaboration of these features multiplies the platforms’ power to inflict harm

by heightening the platform’s addictive nature, increasing exposure to content that triggers

negative social comparison, exposing users to innately harmful content, increasing time of

exposure to harm, further encouraging bullying and promoting conflict, and multiplying harm in

other ways.

       163.      The features combine to create a user interface of endless, auto-playing image and

video content, that is algorithmically sorted to place the most attention-grabbing content at the top

and/or in a distilled feed that is very difficult to cease consuming, especially for young users.

Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or

lifestyles, which causes negative physical or social comparison, especially among teens.

Defendants’ algorithms also promote controversial, disturbing, negative, and/or emotionally




                                                 52
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 55 of 81 PageID #: 55




charged content causing harm to users.

       164.    The combined result of these features is to present to users a false reality—it

presents to users a world which is constantly controversial and negative; where most other people

are exceedingly more attractive than the user; where most other people are exceedingly more

successful and/or competent than the user; and which will facilitate and encourage harmful

behaviors such as self-harm and eating disorders.

       165.    These features take advantage of biological systems, human behavior, and

psychology, to addict and condition users to engage in repetitive, content-consuming actions such

as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,

the users’ input and behavior are tracked to allow the platform to automatically tune itself to each

individual user to become as addictive and difficult to stop engaging with as possible.

       166.    Potential health harms from these features include, among other types of harm,

social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harmful effects.

       167.    Defendants breached their duty by failing to use reasonable care in the design of

their products by negligently designing the platforms to uniquely appeal to minors, who were

particularly unable to appreciate the risks posed by the platforms.

       168.    Defendants breached their duty by failing to use reasonable care by failing to use

cost effective, reasonably feasible alternative designs that would make the product less addictive

and harmful to minors.

       169.    Defendants breached their duty by failing to use reasonable care by failing to use




                                                53
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 56 of 81 PageID #: 56




cost effective, reasonably feasible alternative designs to minimize these harms, including but not

limited to:

       a.      Designing platforms that did not include the features listed above while still

               fulfilling the social, interest, and business networking purposes of a social media

               platform;

       b.      Default protective limits to length of use, frequency of use, or content types;

       c.      Opt-in restrictions to length of use, frequency of use, or content types;

       d.      session time limits;

       e.      Blocks to use during certain times of day (such as morning, during work or school

               periods, or during evenings);

       f.      Session time notifications, warnings, or reports;

       g.      Warning of health effects of use and extended use upon sign-up;

       h.      Parental controls;

       i.      Self-limiting tools;

       j.      Implementing labels on images and videos that have been edited through the

               platform;

       k.      Age-based content filtering;

       l.      General content filtering;

       m.      Algorithmic (whether default or opt-in) reductions or elimination in a user’s feed of

               potentially harmful content (by causing negative social comparison and misleading

               lack of realism) such as in the genres of lifestyle, influencer, beauty, fitness, success

               flaunting, and/or heavily edited images and videos;

       n.      Algorithmic (whether default or opt-in) reductions or elimination in a user’s feed



                                                  54
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 57 of 81 PageID #: 57




               of potentially harmful content such as inappropriate or salacious content;

       o.      Algorithmic (whether default or opt-in) reductions or elimination in a user’s feed of

               potentially harmful content such as controversial, political, or emotionally

               weighted content;

       p.      Algorithmic (whether default or opt-in) reductions or elimination in a user’s feed

               of potentially harmful content such as content encouraging or promoting eating

               disorders, depressive thinking, self-harm, or suicide;

       q.      Informational labelling about the misleading and unrealistic nature of the content

               on a user’s feed and the resulting feed composite because of content editing and

               algorithmic presentation/sorting;

       r.      Chronological presentation of content rather than algorithmic;

       s.      Many other less harmful alternatives.

       170.    Defendants breached their duty by failing to use reasonable care by failing to use

cost effective, reasonably feasible alternative designs that could have reduced mental and physical

harms to users, especially youth. Instead, Defendants designed platforms that aggressively addict

users with algorithms and features that increase addictiveness, use time, frequency of use, attention

stealing, engagement with the platform, mental health harms, and profit to Defendants, all to the

detriment of users’ wellbeing.

       171.    Defendants breached their duty by failing to use reasonable care by failing to use

cost-effective, reasonably feasible alternative designs utilizing technology to enable user-level

access restrictions so that use was tied to a user’s age verification, restricting those underaged from

using the platforms, or other youth-protecting features.

       172.    A reasonable company under the same or similar circumstances would have



                                                  55
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 58 of 81 PageID #: 58




designed a safer product.

        173.     Plaintiff was harmed directly and proximately by the platforms Defendants’ failure

to use reasonable care in the design of their products. Carson used these social media platforms increasingly

until his death in September, 2021. His use of these platforms caused continuing and escalating harms such as self-

harm, periods of suicidal ideation, depression, a reduced inclination or ability to sleep, and ultimately

suicide, among other harmful effects, which may cause or contribute to additional disease.

        174.     The design of Defendants’ products was a proximate cause of Plaintiff’s harms.

        175.     Plaintiff demands judgment against Defendants for proper compensatory, , and

punitive damages, costs of suit, attorneys’ fees, and all such other relief as the Court deems just

and proper.

                   FOURTH CAUSE OF ACTION—ALL DEFENDANTS
                PRODUCTS LIABILITY—NEGLIGENT FAILURE TO WARN

        176.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

        177.     Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Missouri. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Missouri.

        178.     At all relevant times, the Defendants designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and/or benefited from the

products and platforms that Decedent used.

        179.     Defendants knew or, by the exercise of reasonable care, should have known use of

their products was dangerous, harmful, and injurious when used by Decedent in a reasonably

foreseeable manner, particularly with minors and young adults.


                                                        56
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 59 of 81 PageID #: 59




       180.    Defendants knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Decedent would not have realized the potential risks and dangers of

Defendants’ products. Defendants’ platforms are highly addictive and likely to cause mental and

physical injuries as listed above.

       181.    Defendants knew or, by the exercise of reasonable care, should have known that

their products posed risks, including the risks of social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harmful effects, as described herein, that were known and knowable in light of scientific and

medical knowledge that was generally accepted in the scientific community at the time of

development, dissemination, public release, and operation of the platforms.

       182.    Defendants owed a duty to all reasonably foreseeable users to disclose the risks

associated with the use of Defendants’ products.

       183.    Defendants breached their duty of care by failing to use reasonable care in

providing adequate warnings in the platforms’ sign-up warnings, and through marketing,

promoting and advertising of the platforms. For example, according to Meta’s own research:

       a.      At least five-to-six percent of fourteen-year-olds admit to addiction to Meta’s

               platforms;

       b.      Sixty-six percent of teen girls and forty-six percent of teen boys have experienced

               negative social comparisons on Instagram;

       c.      Facebook makes body-image issues worse for one-third of girls;

       d.      Thirteen-and-one-half percent of teen-girl Instagram users say the platform makes




                                                57
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 60 of 81 PageID #: 60




                        thoughts of suicide and self-injury worse;

          e.            Seventeen percent of teen-girl Instagram users say the platform makes eating issues

                        worse;

          f.            Instagram users are twice as likely to develop an eating disorder as those who don’t

                        use social media.

          184.       Defendants’ products are also defective for failing to warn users that, among other

things:

          a.            Engagement-based ranking and intermittent variable rewards are:

                   i.            highly addictive,

                 ii.             promote harmful social comparison,

                 iii.            promote negative, controversial, and/or emotionally activating content,

                 iv.             promote negative, harmful, and/or dangerous interest groups and/or content

                                 creators,

                  v.             encourage bullying and conflict,

                 vi.             can trap users in a cycle of viewing content that is innately harmful or in a

                                 manner that is harmful, such as content related to eating disorders,

                                 depression, or self-harm, and

               vii.              present a false reality (regarding one’s comparative status to their peers,

                                 and/or the general state of world or political affairs).

          b.            Face tracking and augmentation (image and video filters):

                   i.            inflict unrealistic and biased beauty standards upon users, and

                 ii.             cause harmful social comparison based on a misleading curation of peers’

                                 appearances and success, especially among teenage female users.



                                                           58
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 61 of 81 PageID #: 61




       c.      The platforms cause the mental and physical health harms as listed above.

       d.      The likelihood of these harms and likely severity for these harms are even greater

               for the developing brains of minors.

       e.      The likelihood and intensity of these harmful effects are exacerbated by the

               collaboration of these features. And,

       f.      The likelihood and intensity of these harmful effects are increased by other features

               and innerworkings of the platforms that are currently publicly unknown and hidden

               from users and governments.

       185.    The failure of Defendants to warn adequately about its defective products, and its

efforts to misleadingly advertise through conventional and social media avenues, created a danger

of injuries described herein that were reasonably foreseeable at the time of design, development,

coding, operation, and dissemination of the platforms.

       186.    Through their incredible power as the premier social media companies (and/or

association with such companies), Defendants have silenced and suppressed information, research

efforts, and public awareness efforts regarding the harmful heath impact of their platforms.

       187.    Rather than warning users of likely harms, Defendants regularly fine-tune the

platforms to aggressively socially and psychologically engineer new and ongoing users to increase

addiction and exposure to their platforms, causing and increasing physical and psychological harm.

The platforms encourage users to recruit more users across their personal electronic contacts.

       188.    The failure of Defendants to warn adequately about their defective products—and

their efforts to misleadingly advertise through conventional, online, and peer-to-peer avenues—

created a danger of injuries described herein that were reasonably foreseeable at the time of the

design, distribution, and operation of the platforms.



                                                 59
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 62 of 81 PageID #: 62




        189.    At all relevant times, Defendants could have provided adequate warnings and

instructions to prevent the harms and injuries set forth herein, such as providing full and accurate

information about the products in advertising, at point of dissemination/account registration, and

at various intervals of the user interface.

        190.    A reasonable company under the same or similar circumstances would have warned

and instructed users of the dangers presented by the social media platforms, particularly for minors.

        191.    Decedent died as a direct and proximate result of Defendants’ failure to warn and

instruct because had users been warned effectively of the dangers presented by Defendants’

products, Plaintiff would not have permitted Decedent to sign up or use Defendants’ products, and

Decedent would not have used or signed up on Defendants’ products. Plaintiff would not have

permitted Decedent to sign up or use Defendants’ products, and Decedent would not have used or

signed up on Defendants’ products, had Decedent received adequate warnings and instructions

that he could be harmed by platform design that hijacks a user’s neural reward system, develop an

addiction, be exposed to an algorithmic content feed causing negative social and appearance

comparison and a negative false presentation of reality, and suffer injuries including social media

compulsion, self-harm, multiple periods of suicidal ideation, depression, severe anxiety, an eating

disorder(s), body dysmorphia, and a reduced inclination or ability to sleep, among other harmful

effects, which may cause or contribute to additional disease.

        192.    Defendants’ lack of adequate and sufficient warnings and instructions, and their

inadequate and misleading advertising, were a substantial contributing factor in Carson suffering

various harms, as described above, including but not limited to his ultimate suicide. Similarly, lack

of adequate and sufficient warnings and instructions, and their inadequate and misleading

advertising, were a substantial contributing factor in causing the harms to Plaintiff that resulted



                                                 60
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 63 of 81 PageID #: 63




from Carson’s suffering and suicide.

       193.     Plaintiff demands judgment against Defendants for compensatory and punitive

damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

deems proper.

                     FIFTH CAUSE OF ACTION—ALL DEFENDANTS
                      NEGLIGENCE AND/OR GROSS NEGLIGENCE

       194.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       195.     Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Missouri. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Missouri.

       196.     At all relevant times, Defendants designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from their platforms, and therefore owed a duty of reasonable care to avoid

causing harm to those that used it, such as Decedent.

       197.     Defendants’ platforms were the types of products that could endanger others if

negligently made or promoted.

       198.     Defendants had a duty of reasonable care in designing, manufacturing, coding,

inspecting, testing, marketing, advertising, promoting, supplying, disseminating and/or making

publicly available the platforms to avoid causing harm to those that used Defendants’ products.

       199.     Defendants knew or should have known by the exercise of reasonable care, the risks

to users of the platforms, of mental and physical health harms.

       200.     Defendants knew or should have known by the exercise of reasonable care, that


                                                     61
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 64 of 81 PageID #: 64




minors and young people would be attracted to these products.

       201.    Defendants knew or, by the exercise of reasonable care, should have known use of

Defendants’ products was dangerous, harmful, and injurious when used in a reasonably foreseeable

manner, particularly with minors such as Carson and young adults.

       202.    Defendants knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff and her son, Carson, would not have realized the potential

risks and dangers of Defendants’ products. Defendants’ platforms are highly addictive and likely

to cause mental and physical injuries as listed above.

       203.    Defendants knew or, by the exercise of reasonable care, should have known that

Defendants’ products posed risks, including the risks of social media compulsion, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harmful effects, as described herein, that were known and knowable in light of scientific and

medical knowledge that was generally accepted in the scientific community at the time of

development, dissemination, public release, and operation of the platforms.

       204.    Defendants knew or should have known that Defendants’ products needed to be

researched, designed, manufactured, coded, programmed, assembled, inspected, tested, marketed,

advertised, promoted, operated, managed, maintained, supplied, disseminated, and/or made

available properly, without defects and with due care to avoid needlessly causing harm.

       205.    Defendants knew or should have known that Defendants’ products would cause

harm to users if the following features, among others, were included: (1) engagement-based

ranking (sorting content on a user’s feed based on engagement or “meaningful social interactions”



                                                62
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 65 of 81 PageID #: 65




rather than chronology); (2) intermittent variable rewards (a system of “likes,” comments,

strategically-timed notifications, and promoting the content of new users and users who have not

posted in a while, among other features); (3) face tracking and augmentation (i.e., photo and video

filters designed to make users appear more attractive); (4) endless scrollable content (especially

auto-playing video content such as the Instagram “Reels” content feed); (5) the interaction of these

features; and (6) other features of the platform which are currently unknown and hidden from users

and governments.

        206.    Defendants knew or should have known that engagement-based ranking and

intermittent variable rewards are highly addictive, promote harmful social comparison, encourage

bullying and conflict, can trap users in a cycle of viewing content that is innately harmful or in a

manner that is harmful, and present a false reality. Image and video filters inflict unrealistic and

biased beauty standards upon users and cause harmful social comparison based on a misleading

curation of peers’ appearances, especially among teenage female users.

        207.    Defendants knew or should have known that the collaboration of these features

multiplies the platforms’ power to inflict harm by heightening the platform’s addictive nature,

increasing exposure to content that triggers negative social comparison, exposing users to innately

harmful content, increasing time of exposure to harm, further encouraging bullying and promoting

conflict, and multiplying harm in other ways.

        208.    Defendants knew or should have known that the features combine to create a user

interface of endless, auto-playing, image and video content, which is algorithmically sorted to

place the most attention-grabbing content at the top and/or in a distilled feed that is very difficult to

cease consuming, especially for young users. Content that is promoted by the algorithm is often

related to beauty, success/wealth flaunting, or lifestyles, which causes negative physical or social



                                                   63
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 66 of 81 PageID #: 66




comparison, especially among teens. Defendants’ algorithms also promote controversial,

disturbing, negative, and/or emotionally charged content causing harm to users.

        209.    Defendants knew or should have known that the combined result of these features

is to present to users a false reality. It presents to users a world that is constantly controversial and

negative, where most other people are more attractive than the user, where most other people are

more successful and/or competent than the user. This false world view facilitates and encourages

harmful behaviors such as self-harm and eating disorders.

        210.    Defendants knew or should have known that these features take advantage of

biological systems, human behavior, and psychology, to addict and condition users to engage in

repetitive content-consuming actions such as scrolling, “liking,” and sharing content in search of

repeated dopamine releases. All the while, the users’ input and behavior are tracked to allow the

platform to automatically tune itself to each individual user to become as addictive and difficult to

stop engaging with as possible.

        211.    Defendants knew or should have known that Defendants’ products could cause

serious risk of harm, particularly to young persons and minors.

        212.    Defendants were negligent, reckless, and careless, and failed to discharge the duty

of acting with reasonable care that they owed to Carson and to Plaintiff, thereby causing Carson

and Plaintiff to suffer harm.

        213.    The negligence and extreme carelessness of Defendants includes, but is not limited

to, the following:

        a.      Failure to perform adequate testing of their platforms prior to marketing to ensure

                safety, including long-term testing of the product, and testing for physical and

                mental health injuries;



                                                   64
Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 67 of 81 PageID #: 67




    b.    Failure to warn consumers that Defendants’ products had not been adequately

          tested or researched prior to marketing to ensure safety;

    c.    Failure to take reasonable care in the design of Defendants’ products;

    d.    Failure to use reasonable care in the production/development of Defendants’

          platforms;

    e.    Failure to use reasonable care in the operation of Defendants’ products;

    f.    Failure to use reasonable care in the coding/assembly of Defendants’ products;

    g.    Failure to use reasonable care in advertising, promoting, and marketing

          Defendants’ products;

    h.    Failure to use reasonable care in the dissemination of Defendants’ products without

          adequate warnings;

    i.    Use of a design that includes features that cause mental and physical harm,

          including, but not limited to: (1) engagement-based ranking (sorting content on a

          user’s feed based on engagement or “meaningful social interactions” rather than

          chronology); (2) intermittent variable rewards (a system of “likes,” comments,

          strategically-timed notifications, promoting the content of new users and users who

          have not posted in a while, among other features); (3) face tracking and

          augmentation (i.e., photo and video filters designed to make users appear more

          attractive); (4) endless scrollable content (especially auto-playing video content

          such as the Instagram “Reels” content feed); (5) the interaction of these features;

          and (6) other features of the platform that are currently unknown and hidden from

          users and governments;

    j.    Use of a design, engagement-based ranking, and intermittent variable rewards that

          Defendants knew or should have known that are highly addictive, promote harmful


                                           65
Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 68 of 81 PageID #: 68




          social comparison, encourage bullying and conflict, can trap users in a cycle of

          viewing content that is innately harmful or in a manner that is harmful, and present

          a false reality. Image and video filters inflict unrealistic and biased beauty standards

          upon users and cause harmful social comparison based on a misleading curation of

          peers’ appearances, especially among teenage female users;

    k.    Use of design features that Defendants knew or should have known would interact

          to multiply the platforms’ power to inflict harm by heightening the platforms’

          addictive nature, increasing exposure to content that triggers negative social

          comparison, exposing users to innately harmful content, increasing time of

          exposure to harm, further encouraging bullying and promoting conflict, and

          multiplying harm in other ways;

    l.    Use of design features that Defendants knew or should have known would combine

          to create a user interface of endless, auto-playing, image and video content, which

          is algorithmically sorted to place the most attention-grabbing content at the top

          and/or in a distilled feed that is very difficult to cease consuming, especially for

          young users. Content that is promoted by the algorithm is often related to

          beauty, success/wealth flaunting, or lifestyles, which causes negative physical or

          social comparison, especially among teens. Defendants’ algorithms also promote

          controversial, disturbing, negative, and/or emotionally charged content causing

          harm to users;

    m.    Use of design features that Defendants knew or should have known would result in

          presenting to users a false reality. It presents to users a world which is constantly

          controversial and negative, most other people are more attractive than the user, and



                                            66
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 69 of 81 PageID #: 69




               most other people are more successful and/or competent than the user;

       n.      Failure to inspect Defendants’ products for proper operation and to avoid addiction,

               overuse, or mental health harms;

       o.      Failure to reasonably and properly test and properly analyze the testing of

               Defendants’ platforms under reasonably foreseeable circumstances;

       p.      Failure to warn consumers about the dangers associated with use of Defendants’

               products, in that it was unsafe, causes social media addiction, depression, body

               dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia,

               eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating

               disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines,

               loss of vision, and eye strain, among other harmful effects;

       q.      Failure to subsequently remedy harm-causing features of the platforms after

               Defendants had actual knowledge of harm to users;

       r.      Failure to provide any instructions regarding a safe manner, frequency, and length

               of use of the platforms per day;

       s.      Failure of Defendants to verify the age of consumers creating accounts and using

               Defendants’ platforms;

       t.      Failure to recall Defendants’ platforms;

       u.      All other failures, acts and omissions set forth herein.

       214.    Defendants’ acts and omissions constitute gross negligence because they constitute

a total lack of care and an extreme departure from what a reasonably careful company would do

in the same situation to prevent foreseeable harm to Plaintiff.

       215.    Defendants acted and/or failed to act willfully, and with conscious and reckless



                                                  67
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 70 of 81 PageID #: 70




disregard for the rights and interests of Carson and Plaintiff, and their acts and omissions had a

great probability of causing significant harm and in fact resulted in such harm to Carson, who

committed suicide, and to Plaintiff, who lost her son.

       216.    Based on their strategic and intentional promotion, advertising, and marketing

history, Defendants reasonably should have foreseen that young people would try Defendants’

products and quickly become addicted to the platforms, resulting in teenagers and young adults

developing lifelong addictions. After fine-tuning the product to addict users using features that

also result in serious mental health and physical harms, Defendants reasonably should have

foreseen the emotional distress this would cause on the individuals who would get addicted, as

well the stress this would place on their loved ones around them.

       217.    Defendants intentionally created an attractive nuisance to children, but

simultaneously failed to provide adequate warnings or safeguards from the harmful effects they

knew were occurring.

       218.    Carson was injured as a direct and proximate result of negligence and/or gross

negligence as described herein. Such harm includes social media compulsion, self-harm, periods

of suicidal ideation, depression, severe anxiety, a reduced inclination or ability to sleep, and

ultimately suicide.

       219.    Jennifer Krull lost her son because of the harms caused by social media. She

suffered mental anguish, financial harm, loss of consortium, and pecuniary loss.

       220.    Defendants’ negligence and/or gross negligence were a substantial factor in causing

and or contributing to Carson’s injuries, to his death by suicide, and to the resulting harms to

Plaintiff. Plaintiff’s damages include mental anguish, lost sleep, anxiety, depression, suicidal

ideation, self-harm, and suicide.



                                                68
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 71 of 81 PageID #: 71




       221.     Plaintiff demands judgment against Defendants for compensatory and punitive

damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

deems proper.

                     SIXTH CAUSE OF ACTION—ALL DEFENDANTS
                         NEGLIGENT MISREPRESENTATION

       222.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       223.     Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Missouri. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Missouri.

       224.     At all relevant times, Defendants designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from their platforms, and therefore owed a duty of reasonable care to avoid

causing harm to those that used it, such as Decedent.

       225.     Defendants were negligent, reckless, and careless and owed a duty to Decedent to

make accurate and truthful representations regarding their platforms.

       226.     Defendants breached their duty, thereby causing Plaintiff to suffer harm.

       227.     Defendants represented to Carson and to Plaintiff—via the media, advertising,

website, social media, and promotions, among other misrepresentations described herein—that:

       a.       Defendants’ products were safe and were not harmful;

       b.       Long-term, frequent, prolonged use was harmless;

       c.       Defendants’ products increased social connectivity, rather than causing feelings of

                isolation; and


                                                     69
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 72 of 81 PageID #: 72




       d.            An inaccurate and misleading portrayal of the platforms mental and physical health

                     impact;

       228.          Defendants omitted/failed to inform Carson, Plaintiff, and other consumers, by

any media, of the harms of their platforms. For example, according to Meta’s own research:

       a.           At least five-to-six percent of fourteen-year-olds admit to addiction to Meta’s

                     platforms;

       b.            Sixty-six percent of teen girls and forty-six percent of teen boys have

                     experienced negative social comparisons on Instagram;

       c.            Facebook makes body-image issues worse for one-third of girls;

       d.           Thirteen-and-one-half percent of teen-girl Instagram users say the platform

                     makes thoughts of suicide and self-injury worse;

       e.            Seventeen percent of teen-girl Instagram users say the platform makes eating issues

                     worse; and

       f.            Instagram users are twice as likely to develop an eating disorder as those who don’t

                     use social media.

       229.          Among other things, Defendants also failed to inform users that, as it knew or

should have known:

       a.            Engagement-based ranking and intermittent variable rewards are

                i.             highly addictive,

              ii.              promote harmful social comparison,

              iii.             promote negative, controversial, and/or emotionally activating content,

              iv.              promote negative, harmful, and/or dangerous interest groups and/or

                               content creators,

               v.              encourage bullying and conflict,

                                                        70
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 73 of 81 PageID #: 73




              vi.          can trap users in a cycle of viewing content that is innately harmful or in a

                           manner that is harmful, such as content related to eating disorders,

                           depression, or self-harm, and

            vii.           present a false reality (regarding one’s comparative status to their peers,

                           and/or the general state of world or political affairs);

       b.        Face tracking and augmentation (image and video filters):

               i.          inflict unrealistic and biased beauty standards upon users, and

              ii.          cause harmful social comparison based on a misleading curation of peers’

                           appearances and success, especially among teenage female users;

       c.        The platforms cause the mental and physical health harms as listed above;

       d.        The likelihood of these harms and likely severity for these harms are even greater

                for the developing brains of minors;

       e.       The likelihood and intensity of these harmful effects are exacerbated by the

                 interaction of these features; and

       f.        The likelihood and intensity of these harmful effects are increased by other features

                    and innerworkings of the platforms which are currently publicly unknown and

                    hidden from users and governments.

       230.         The representations described above were false, and the omissions were material.

The platforms are unsafe and Defendants knew that they cause mental and physical health harms,

especially in youth, such as social media addiction, depression, body dysmorphia, anxiety, suicidal

ideation, self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia

nervosa, death by suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping,

fatigue, headaches, migraines, loss of vision, eye strain, among other harmful effects.


                                                     71
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 74 of 81 PageID #: 74




       231.    Defendants knew or should have known the representations cited above were false

and negligently made them without regard for their truth.

       232.    Through Defendants’ incredible power as the premier social media companies

(and/or association with such companies), they have silenced and suppressed information, research

efforts, and public awareness efforts regarding the harmful heath impact of their platforms.

       233.    Defendants had a duty to accurately provide this information to Decedent. In

concealing this information from Decedent, Defendants breached their duty. Defendants also gained

financially from this concealment, and because of their breach.

       234.    Defendants intended for Carson and Plaintiff to rely on these representations.

       235.    Each of these misrepresentations were material at the time they were made. Each

of the misrepresentations concerned material facts that were essential to the analysis undertaken

by Carson as to whether to sign up for or use Defendants’ products, and by Plaintiff as to whether

to allow Carson to sign up for or use Defendants’ products.

       236.    Defendants have yet to disclose or correct these misrepresentations about their

products.

       237.    Carson reasonably relied on these representations and was harmed as described

herein. Carson’s and Plaintiff’s reliance on Defendants’ representations was a substantial factor in

causing Plaintiff’s harms. Had Defendants told Plaintiff or Carson the truth about the safety and

algorithmic framework of the platforms, Carson would not have registered with Meta or Snapchat

or used those platforms.

       238.    Defendants’ acts and omissions as described herein were committed in reckless

disregard of Decedents rights, interests, and well-being to enrich Defendants.

       239.    Plaintiff was injured as a direct and proximate result of Defendants’ negligent



                                                72
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 75 of 81 PageID #: 75




misrepresentations regarding their platforms as described herein. Such harm includes social media

compulsion, self-harm, multiple periods of suicidal ideation, depression, severe anxiety, a reduced

inclination or ability to sleep, among other harmful effects, which may cause or contribute to

additional disease.

       240.    Plaintiff demands judgment against Defendants for compensatory, treble, and

punitive damages, attorneys’ fees, and all such other relief as the Court deems proper.

       241.    Through its misrepresentations and omissions, Defendants committed continual

tortious, and fraudulent acts that continue to this day.

       242.    As a result of Defendants’ fraudulent concealment, Plaintiff was unaware and could

not have reasonably known or learned through reasonable diligence that her son was exposed to

the defects and risks alleged herein and that those defects and risks were the direct and proximate

result of Defendants’ acts and omissions.

                       SEVENTH CAUSE OF ACTION- META ONLY
                           FRAUDULENT CONCEALMENT


       244.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       245.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of

Plaintiff’s resident state, Missouri. Plaintiff pleads this Cause of Action under all applicable

product liability acts, statutes, and laws of the State of Missouri.

       246.    At all relevant times, Meta designed, developed, managed, operated, inspected,

tested (or not), marketed, advertised, promoted, disseminated, made publicly available, and/or

benefited from Facebook and Instagram and therefore owed a duty of reasonable care to avoid




                                                  73
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 76 of 81 PageID #: 76




causing harm to those that used it, such as Plaintiff.

        247.   Meta has a duty to disclose material facts about Facebook and Instagram to

Plaintiff.

        248.   Meta fraudulently and deceptively marketed Facebook and Instagram to Plaintiff

as safe, healthful, or not harmful, and beneficial to user mental health and social connectedness

when Meta knew that the truth is just the opposite.

        249.   Meta fraudulently and deceptively downplayed or minimized any risk associated

with its platforms and product features. Meta and others worked together to pitch news stories or

other media content designed to downplay the risks of its platforms, suggesting that any concern

was overblown, or a panic. These tactics mimic those used by the tobacco industry to sow seeds

of doubt and confusion among the public, to initiate new users, to keep customers using

Facebook and Instagram, and to avoid regulation or legislative efforts to control Meta.

        250.   Through their incredible power as the premier social media companies (and/or

association with such companies), Meta has silenced and suppressed information, research

efforts, and public awareness efforts regarding the harmful heath impact of their platforms.

        251.   Meta fraudulently and deceptively concealed that Facebook and Instagram can

cause social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harms.

        252.   Meta fraudulently and deceptively concealed they had not adequately researched

or tested the platforms and its features to assess its safety before offering it on the market and

promoting it to young people and adults.




                                                 74
 Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 77 of 81 PageID #: 77




       253.     Meta fraudulently and deceptively concealed that the platforms were powerfully

addictive.

       254.     Meta further failed to disclose to Plaintiff that the platforms are designed to create

and sustain an addiction. Meta also manipulated the platforms algorithms and features in ways

that could and would impact their addictiveness and mental health impact, and Meta did so

without notifying Plaintiff. Meta actively concealed the innerworkings of its platforms and their

mental health impacts.

       255.     Meta concealed from Plaintiff that, according to its own research:

                a) At least five-to-six percent of fourteen-year-olds admit to addiction to Meta’s

                    platforms;

                b) Sixty- six percent of teen girls and forty-six percent of teen boys have

                    experienced negative social comparisons on Instagram;

                c) Facebook makes body-image issues worse for one-third of girls;

                d) Thirteen-and-one-half percent of teen-girl Instagram users say the platform

                    makes thoughts of suicide and self-injury worse;

                e) Seventeen percent of teen-girl Instagram users say the platform makes eating

                    issues worse; and

                f) Instagram users are twice as likely to develop an eating disorder as those who

                    don’t use social media.

       256.     Meta also concealed from Plaintiff that:

             a) Engagement-based ranking and intermittent variable rewards are:

                            i. Highly addictive;

                           ii. promote harmful social comparison,




                                                   75
Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 78 of 81 PageID #: 78




                     iii. promote negative, controversial, and/or emotionally activating

                          content

                     iv. promote negative, harmful, and/or dangerous interest groups and/or

                          content creators,

                      v. encourage bullying and conflict,

                     vi. can trap users in a cycle of viewing content that is innately harmful

                          or in a manner that is harmful, such as content related to eating

                          disorders, depression, or self-harm, and

                    vii. present a false reality (regarding one’s comparative status to their

                          peers, and/or the general state of world or political affairs);

       b) Face tracking and augmentation (image and video filters):

                      i. Inflict unrealistic and biased beauty standards upon users, and

                      ii. Cause harmful social comparison based on a misleading curation of

                          peers’ appearances and success, especially among teenage female

                          users;

       c) The platforms cause the mental and physical health harms as listed above;

       d) The likelihood of these harms and likely severity for these harms are even greater

          for the developing brains of minors;

       e) The likelihood and intensity of these harmful effects are exacerbated by the

          collaboration of these features; and

       f) The likelihood and intensity of these harmful effects are increased by other features

          and innerworkings of the platforms which are currently publicly unknown and

          hidden from users and governments.




                                              76
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 79 of 81 PageID #: 79




       257.    Each of these misrepresentations and omissions were material at the time they

were made. Each of the misrepresentations and omissions concerned material facts that were

essential to the analysis undertaken by Plaintiff as to whether to register or use the platforms.

       258.    Plaintiff did not know of the facts Meta concealed.

       259.    Meta intended to deceive Plaintiff and the public by concealing these facts.

       260.    Meta had a duty to accurately provide this information to Plaintiff. In concealing

this information from Plaintiff, Meta breached their duty. Meta also gained financially from this

concealment, and because of their breach.

       261.    Meta had ample opportunities to disclose these facts to Plaintiff, through

advertising, on its websites, platforms, and on other social media. Meta concealed material

information at all relevant times, through today. Meta has yet to disclose the truth about

Facebook and Instagram.

       262.    Carson relied to his detriment on Meta’s fraudulent omissions. Had Plaintiff been

adequately informed of the material facts concealed from him regarding the safety of the

platforms, and not intentionally deceived by Meta, he would not have signed up for or used

Facebook and Instagram.

       263.    Meta’s fraudulent concealment was a substantial factor in Plaintiff’s harms as

described herein, including: social media compulsion, self-harm, suicidal ideation, depression,

severe anxiety, a reduced inclination or ability to sleep, and suicide.

       264.    Plaintiff was injured as a direct and proximate result of Meta’s fraudulent conduct

as described herein.

       265.    Plaintiff demands judgment against Meta for compensatory punitive damages,

together with interest, costs of suit, attorneys' fees, and all such other relief as the Court deems




                                                  77
  Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 80 of 81 PageID #: 80




proper.

                               VI.     DEMAND FOR A JURY TRIAL

          Plaintiff hereby demands a trial by jury.

                                     VII.   PRAYER FOR RELIEF

          Plaintiff prays for judgment against Defendants to the full extent of the law, including but

not limited to:
          1.      Entering judgment for Plaintiff and against Defendants;

          2.      Entering an Order that Defendants are jointly and severally liable;
          3.      Damages to compensate Plaintiff for Carson’s injuries and death, sustained as a

result of Carson’s use of the platforms, including, but not limited to, Carson’s pain and suffering,
mental anguish, and death; the mental pain and suffering of the Plaintiff, the loss of her son’s

consortium; and economic harm that includes, but is not limited to, lost earnings, loss of earning

capacity, and funeral expenses;
          4.      Awarding actual and compensatory damages;

          5.      Awarding statutory damages in the maximum amount permitted by law;

          6.      Awarding exemplary and/or punitive damages in an amount in excess of the

jurisdictional limits;
          7.      Awarding reasonable attorneys’ fees;

          8.      Awarding experts’ fees;

          9.      Awarding costs of litigation;

          10.     Awarding pre-judgment and post-judgment interest at the lawful rate;

          11.     A trial by jury on all issues of the case; and

          12.     Any other relief as this court may deem equitable and just, or that may be available.




                                                      78
Case: 4:22-cv-01262-JAR Doc. #: 1 Filed: 11/28/22 Page: 81 of 81 PageID #: 81




DATED: November 28, 2022            Respectfully Submitted,




                                    Thomas P. Cartmell

                                    /s/Thomas P. Cartmell
                                    Thomas P. Cartmell (MO Bar #45377)
                                    Jonathan P. Kieffer (MO Bar #49025)
                                    Lucy R. Davis (MO Bar #73675)
                                    Wagstaff & Cartmell LLP
                                    4740 Grand Avenue, Suite 300
                                    Kansas City, MO 64112
                                    Tel. (816) 701 1100
                                    Fax (816) 531-2372

                                    Alexandra Walsh

                                    /s/ Alexandra Walsh
                                    Alexandra Walsh (Pro Hac Vice forthcoming)
                                    Kim Channick (Pro Hac Vice Forthcoming)
                                    1050 Connecticut Ave, NW, Suite 500
                                    Washington D.C. 20036
                                    Tel. (202) 780-3014
                                    Fax (202) 780-3678

                                    Attorneys for Plaintiff




                                     79
